                 UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                        TAMPA DIVISION

STATE FARM MUTUAL AUTOMOBILE               )
INSURANCE COMPANY, and                     )
STATE FARM FIRE AND CASUALTY               )
COMPANY,                                   )
                                           )
Plaintiffs,                                )
                                           )
       v.                                  ) Case No.
                                           )
MICHAEL THOMAS LAROCCA, D.C.,              )
BLAKE THOMAS LAROCCA,                      )
MICHAEL AUGUST MAJOR, D.C.,                )
JASON EDWARD HUNT, D.C.,                   )
JEFFREY EDUARD RAHEB, D.C.,                )
ANTOINETTE DENISE STEWART, D.C.,           )
RUTH GERMAINE GRIFFIN, D.C.,               ) DEMAND FOR A JURY
SAVANNAH JANE MAYBERRY, D.C.,              ) TRIAL
MOUNIR SEMIA, D.C.,                        )
TOBIAS BACANER, M.D.,                      )
CECILIO TORRES-RUIZ, M.D.,                 )
LORI REBEIN, NP-C,                         )
ALL ACCIDENTS CHIROPRACTIC                 )
CENTER, PLLC,                              )
LAROCCA CHIROPRACTIC CENTERS, LLC,         )
LAROCCA CHIROPRACTIC INJURY CENTER,        )
LLC,                                       )
LAROCCA INJURY CENTERS LLC, and            )
LAROCCA AUTO INJURY CENTER LLC,            )
                                           )
Defendants.
_______________________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL
      State Farm Mutual Automobile Insurance Company (“State Farm Mutual”)

and State Farm Fire and Casualty Company (“State Farm Fire”), for their

Complaint against Michael Thomas LaRocca, D.C. (“Michael LaRocca”), Blake

Thomas LaRocca (“Blake LaRocca”), Michael August Major, D.C. (“Major”), Jason

Edward Hunt, D.C. (“Hunt”), Jeffrey Eduard Raheb, D.C. (“Raheb”), Antoinette

Denise Stewart, D.C. (“Stewart”), Ruth Germaine Griffin, D.C. (“Griffin”),

Savannah Jane Mayberry, D.C. (“Mayberry”), Mounir Semia, D.C. (“Semia”),

Tobias Bacaner, M.D. (“Bacaner”), Cecilio Torres-Ruiz, M.D. (“Torres-Ruiz”), Lori

Rebein, NP-C (“Rebein”), All Accidents Chiropractic Center, PLLC (“All

Accidents Chiropractic”), LaRocca Chiropractic Centers, LLC (“LaRocca

Chiropractic Centers”), LaRocca Chiropractic Injury Center LLC (“LaRocca

Chiropractic Injury Center”), LaRocca Injury Centers LLC (“LaRocca Injury

Centers”), and LaRocca Auto Injury Center LLC (“LaRocca Auto Injury”)

(collectively, “Defendants”), allege as follows:

I.    NATURE OF THE CASE

      1.     This action involves a fraud scheme in which Defendants act in

concert to collect benefits under Personal Injury Protection policies (“PIP

Benefits”) and Medical Payments Coverage policies (“MPC Benefits”)

(collectively, “No-Fault Benefits”) from State Farm Mutual and State Farm Fire by

submitting claims for chiropractic and medical services purportedly provided to

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patients involved in auto accidents and eligible for No-Fault Benefits under State

Farm Mutual and State Farm Fire insurance policies when, in fact, such services

are not medically necessary and not lawfully rendered. Instead, the services are

performed pursuant to a predetermined treatment protocol (the “Predetermined

Protocol”) designed and carried out to enrich Defendants by exploiting patients’

eligibility for No-Fault Benefits, and not to address the unique circumstances and

medical needs of any individual patient.

      2.    The Predetermined Protocol, which is implemented and carried out

by Michael LaRocca, Blake LaRocca, Major, Hunt, Raheb, Stewart, Griffin,

Mayberry, Semia, Bacaner, Torres-Ruiz, and Rebein at All Accidents Chiropractic,

LaRocca Auto Injury, LaRocca Chiropractic Centers, LaRocca Chiropractic Injury

Center, and LaRocca Injury Centers (collectively, the “LaRocca Clinics”), includes:

(a) initial examinations by Michael LaRocca, Major, Hunt, Raheb, Stewart, Griffin,

Mayberry, Semia, and other chiropractors employed by the LaRocca Clinics (the

“LaRocca Chiropractors”) resulting in records documenting the same or similar

nonspecific complaints and examination findings, which in turn purportedly

justify a predetermined and medically unnecessary course of treatment at the

LaRocca Clinics; (b) a predetermined and medically unnecessary course of

treatment that consists of the same or substantially similar combination of at least

three passive modalities and one active treatment provided to patients on almost

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every visit, regardless of patients’ unique circumstances and needs; (c) initial

medical examinations by Bacaner, Torres-Ruiz, and Rebein that are performed to

confirm patients are injured, attribute those injuries solely to their auto accidents,

and support the alleged need for the predetermined course of care at the LaRocca

Clinics by falsely documenting nearly all patients have sustained emergency

medical conditions (“EMCs”) as a result of their accident; (d) after Defendants

exploit patients’ No-Fault Benefits, final medical examinations by Bacaner, Torres-

Ruiz, and Rebein that are performed to confirm virtually all patients (i) continue

to suffer pain from their auto accidents, despite purportedly receiving extensive

treatments at the LaRocca Clinics, (ii) are permanently injured, and (iii) continue

to need further treatment which, in turn, can be used to support the statutory

threshold for patients’ bodily injury claims (“BI Claims”) against at-fault drivers

for non-economic damages, including pain and suffering, and economic damages

above and beyond their No-Fault Benefits, as well as uninsured/underinsured

motorist claims (“UM Claims”) against their own insurance companies if recovery

from at-fault drivers is not sufficient to compensate them for their economic and

non-economic damages; and (e) medically unnecessary diagnostic imaging,

including x-rays and DXD Cervical Radiographic Spinal Analyses (“DXD

Studies”), performed by the LaRocca Chiropractors to support the purported need

for the predetermined course of treatment at the LaRocca Clinics.

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      3.    Defendants act in concert to submit, or cause to be submitted, bills

and supporting documentation to State Farm Mutual and State Farm Fire falsely

representing services purportedly rendered to patients are legitimate and

medically necessary when, in fact, they are not because they are performed, if at

all, pursuant to the Predetermined Protocol to exploit patients’ No-Fault Benefits

and to support the statutory threshold for patients to make BI Claims and UM

Claims. Defendants’ bills and supporting documentation for services rendered

pursuant to the Predetermined Protocol, described, in part, in the appendices

attached hereto as Exhibits 1-10, are fraudulent and the charges for those services

are not owed because they are not medically necessary and not lawfully rendered.

      4.    Because of Defendants’ fraudulent scheme: (a) patients are not

legitimately examined, diagnosed, or treated for conditions they may have; (b)

patients are subjected to medically unnecessary services, regardless of their unique

needs; (c) patients’ limited No-Fault Benefits are exploited and therefore not

available for medically necessary treatment they may need; and (d) personal injury

attorneys (“PI Attorneys”) use Defendants’ fraudulent bills and supporting

documentation to present inflated BI Claims against at-fault drivers and UM

Claims against State Farm Mutual and State Farm Fire.

      5.    Defendants’ fraudulent scheme began at least as early as January 2017

and has continued uninterrupted since that time. As a direct and proximate result

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of the scheme, State Farm Mutual and State Farm Fire have incurred actual

damages of at least $2.1 million in No-Fault Benefits paid to Defendants.

      6.    Defendants made material misrepresentations and have taken other

affirmative acts to conceal their fraud from State Farm Mutual and State Farm Fire.

Each bill and its supporting documentation, when viewed in isolation, does not

reveal its fraudulent and unlawful nature. Only when Defendants’ bills and

supporting documentation across all patients at issue in this Complaint are viewed

together as a whole do the patterns emerge revealing their fraudulent nature.

      7.    Each Defendant agreed to act and did act in furtherance of the

common and overall objective of the conspiracy to defraud State Farm Mutual and

State Farm Fire through the fraudulent claims described throughout this

Complaint. Specifically: (a) Michael LaRocca, Blake LaRocca, and potentially

others designed, oversaw, and are responsible for the Predetermined Protocol to

exploit No-Fault Benefits of patients who treat at the LaRocca Clinics; (b) Blake

LaRocca, the LaRocca Chiropractors, Bacaner, Torres-Ruiz, and Rebein submitted,

or caused to be submitted, bills and supporting documentation to State Farm

Mutual and State Farm Fire that were fraudulent because they were for

examinations, treatments, and diagnostic imaging services that were not medically

necessary and not lawfully rendered; and (c) Blake LaRocca, in addition to

designing, overseeing, and being responsible for the Predetermined Protocol,

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managed the LaRocca Clinics, provided billing services for them, and coordinated

the submission of bills and other documentation to State Farm Mutual and State

Farm Fire that were fraudulent.

      8.     This action asserts common law claims for fraud, civil conspiracy, and

unjust enrichment, and a statutory claim under Florida’s Deceptive and Unfair

Trade Practices Act, Fla. Stat. § 501.201 et seq. (“FDUTPA”), to recover actual

damages of at least $2.1 million paid to Defendants, as well as reasonable

attorney’s fees and costs for violations of FDUTPA, and any other relief that is just

and proper. Pursuant to 28 U.S.C. § 2201, this action also seeks a declaratory

judgment that State Farm Mutual and State Farm Fire are not liable for any unpaid

charges the LaRocca Clinics have submitted, or caused to be submitted, to State

Farm Mutual and State Farm Fire through the date of this Complaint and the trial

of this case, based upon the conduct described above and throughout this

Complaint.

II.   JURISDICTION AND VENUE

      9.     Pursuant to 28 U.S.C. § 1332(a)(1), this Court has jurisdiction over all

claims because the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs, and is between citizens of different states.

      10.    Pursuant to 28 U.S.C. § 1391(b)(1), venue is proper in this district

because Defendants reside in Florida. Venue is also proper in this district under

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28 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions giving

rise to the claims occurred in this district.

III.   PARTIES

       A.    Plaintiffs

       11.   State Farm Mutual is a citizen of the state of Illinois. It is incorporated

under the laws of the state of Illinois, with its principal place of business in

Bloomington, Illinois. At all relevant times, it has been licensed in Florida to

engage in the business of insurance.

       12.   State Farm Fire is a citizen of the state of Illinois. It is incorporated

under the laws of the state of Illinois, with its principal place of business in

Bloomington, Illinois. At all relevant times, it has been licensed in Florida to

engage in the business of insurance.

       B.    Defendants

             1.      Individual Defendants

                     a.    Michael LaRocca

       13.   Michael LaRocca is a citizen and resident of Florida and has been

licensed to practice chiropractic medicine in Florida since 1976.

       14.   Michael LaRocca formed the first LaRocca Clinic, All Accidents

Chiropractic, in 2010. Since January 2017, the LaRocca Clinics have operated at

over 12 locations.


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      15.    In applications for certificates of exemption from licensure filed with

the Agency for Health Care Administration (“AHCA”) on August 29, 2019,

Michael LaRocca represented he owns 100% of All Accidents Chiropractic and

LaRocca Chiropractic Centers, and 50% of LaRocca Chiropractic Injury Center and

LaRocca Auto Injury Center. On information and belief, Michael LaRocca also

owns, in whole or part, LaRocca Injury Centers. Michael LaRocca is the sole

member of All Accidents Chiropractic, LaRocca Chiropractic Centers, and

LaRocca Injury Centers.        Michael LaRocca is also a member of LaRocca

Chiropractic Injury Center and LaRocca Auto Injury Center with Major and Hunt,

respectively.

      16.    In applications for certificates of exemption from licensure filed with

the AHCA on August 29, 2019 for All Accidents Chiropractic, LaRocca

Chiropractic Centers, LaRocca Chiropractic Injury Center, and LaRocca Auto

Injury Center, Michael LaRocca represented that he supervises the business

activities of these entities and is legally responsible for each entity’s compliance

with all federal and state laws. (See Fla. Stat. § 400.9905(4)(g).)

      17.    From approximately January 2017 to the present, Michael LaRocca

has worked at the LaRocca Clinics where he implements the Predetermined

Protocol by providing chiropractic examinations, including those identified on

Exhibit 2, chiropractic treatments, and diagnostic imaging services, including

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those identified on Exhibit 7, to patients that were not legitimate and were not

provided to address the patients’ unique needs.

      18.    From approximately January 2017 to the present, Michael LaRocca

has knowingly directed, overseen, and profited from the activities of those who

have been employed by or associated with the LaRocca Clinics to provide

medically unnecessary and unlawful services pursuant to the Predetermined

Protocol.   During at least that period, Michael LaRocca has also knowingly

submitted, or caused to be submitted, fraudulent bills and supporting

documentation to State Farm Mutual and State Farm Fire for services, including

examinations, chiropractic treatments, and diagnostic imaging, performed

pursuant to the Predetermined Protocol at the LaRocca Clinics.

                   b.    Blake LaRocca

      19.    Blake LaRocca is a citizen and resident of Florida.

      20.    Blake LaRocca is the registered agent for All Accidents Chiropractic,

LaRocca Auto Injury, and LaRocca Chiropractic Injury Center, and, until about

2021, was the registered agent for LaRocca Injury Centers.

      21.    Blake LaRocca has played and continues to play a significant role

operating, directing, and overseeing the LaRocca Clinics. His father, Michael

LaRocca, testified Blake LaRocca is the office manager of the LaRocca Clinics. (Ex.

11, p. 36.) On February 1, 2018, Blake LaRocca confirmed he manages the LaRocca


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Clinics. (Ex. 12, p. 3.) On February 25, 2020, during a deposition in which he

served as the corporate representative of LaRocca Chiropractic Centers and

LaRocca Injury Centers, Blake LaRocca testified he is in charge of billing for the

LaRocca Clinics. (Ex. 13, p. 7, 10, 41.) He also testified he performs advertising

and marketing on behalf of the LaRocca Clinics by communicating with “general

practitioners” and “go[ing] after physicians that don’t do auto accidents.” (Id. at

p. 39.) In addition to managing, being in charge of billing, and performing

advertising and marketing on behalf of the LaRocca Clinics, Blake LaRocca does

“coding” and “recordkeeping” for the LaRocca Clinics. (Ex. 14, p. 9.)

      22.   From approximately January 2017 to the present, Blake LaRocca has

worked at the LaRocca Clinics where he oversees and implements the

Predetermined Protocol by managing the LaRocca Clinics and knowingly

submitting, or causing to be submitted, fraudulent bills and supporting

documentation to State Farm Mutual and State Farm Fire for services, including

examinations, chiropractic treatments, and diagnostic imaging, performed

pursuant to the Predetermined Protocol.

      23.   As described in greater detail below (Section VI), in 2014, Blake

LaRocca formed BTL Funding “L.L.C.” (“BTL Funding”) from which he

additionally profits from Defendants’ fraudulent scheme. Blake LaRocca uses BTL

Funding to earn additional profits by purchasing accounts receivable for patients

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who treat at the LaRocca Clinics and undergo procedures at surgery centers

performed by physicians and other providers. Blake LaRocca has also used

another funding company, Greenway Funding L.L.C., to purchase accounts

receivable for patients who treat at the LaRocca Clinics and undergo procedures

at surgery centers.

      24.   By purchasing accounts receivable relating to patients who treat at the

LaRocca Clinics where Blake LaRocca manages the day-to-day operations and is

in charge of the billing, coding, and recordkeeping, Blake LaRocca has an incentive

to implement—and does implement—the Predetermined Protocol to paper

patients’ records at the LaRocca Clinics with continued complaints of pain and

unresolved and permanent injuries that purportedly require additional treatment

and referrals to pain management providers to perform procedures Blake LaRocca

can profit from by purchasing the accounts receivable.

                      c.   Major

      25.   Major is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 1994.

      26.   Major and Michael LaRocca formed LaRocca Chiropractic Injury

Center in 2011. In an application for certificate of exemption from licensure filed

with AHCA on August 29, 2019, Major represented he holds a 50% ownership




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interest in LaRocca Chiropractic Injury Center. Major and Michael LaRocca are

the members of LaRocca Chiropractic Injury Center.

      27.    In that application, Major also represented that he supervises the

business activities of LaRocca Chiropractic Injury Center and is legally responsible

for its compliance with all federal and state laws. (See Fla. Stat. § 400.9905(4)(g).)

      28.    From approximately January 2017 to the present, Major has worked

at the LaRocca Clinics where he implements the Predetermined Protocol by

providing chiropractic examinations, including those identified on Exhibit 3,

treatments, and diagnostic imaging services, including those identified on Exhibit

7, to patients that were not legitimate and were not provided to address patients’

unique needs.

      29.    From approximately January 2017 to the present, Major has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.

                    d.    Hunt

      30.    Hunt is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2016.




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      31.    Hunt and Michael LaRocca formed LaRocca Auto Injury Center in

2011. In an application for certificate of exemption from licensure filed with

AHCA on August 29, 2019, Hunt represented he holds a 50% ownership interest

in LaRocca Auto Injury Center. Hunt and Michael LaRocca are the members of

LaRocca Auto Injury Center.

      32.    In that application, Hunt also represented that he supervises the

business activities of LaRocca Auto Injury Center and is legally responsible for its

compliance with all federal and state laws. (See Fla. Stat. § 400.9905(4)(g).)

      33.    From approximately January 2017 to the present, Hunt has worked at

the LaRocca Clinics where he implements the Predetermined Protocol by

providing chiropractic examinations, including those identified on Exhibits 2 and

3, chiropractic treatments, and diagnostic imaging services to patients that were

not legitimate and were not provided to address the patients’ unique needs.

      34.    From approximately January 2017 to the present, Hunt has knowingly

submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.




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                   e.    Raheb

      35.   Raheb is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2000.

      36.   From at least January 2017 to July 2017, Raheb and Michael LaRocca

each held a 50% ownership interest in All Accidents Chiropractic. According to

documents submitted to AHCA, on July 1, 2017, Raheb agreed to relinquish his

50% ownership in All Accidents Chiropractic for a one-time payment of $25,000

made by Michael LaRocca. (Ex. 15.)

      37.   On information and belief, from approximately January 2017 to at

least July 2017, Raheb worked at the LaRocca Clinics where he implemented the

Predetermined Protocol by providing chiropractic examinations, treatments, and

diagnostic imaging services to patients that were not legitimate and were not

provided to address the patients’ unique needs.

      38.   On information and belief, from approximately January 2017 to at

least July 2017, Raheb knowingly submitted, or caused to be submitted, fraudulent

bills and supporting documentation from the LaRocca Clinics for services,

including examinations, chiropractic treatments, and diagnostic imaging,

performed pursuant to the Predetermined Protocol.




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                   f.     Stewart

      39.   Stewart is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2016.

      40.   From approximately February 2017 to the present, Stewart has

worked at the LaRocca Clinics where she implements the Predetermined Protocol

by providing chiropractic examinations, including those identified on Exhibit 2,

treatments, and diagnostic imaging services to patients that were not legitimate

and were not provided to address patients’ unique needs.

      41.   From approximately February 2017 to the present, Stewart has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.

                   g.     Griffin

      42.   Griffin is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2014.

      43.   From approximately January 2017 to the present, Griffin has worked

at the LaRocca Clinics where she implements the Predetermined Protocol by

providing chiropractic examinations, including those identified on Exhibit 2,




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treatments, and diagnostic imaging services to patients that were not legitimate

and were not provided to address patients’ unique needs.

      44.   From approximately January 2017 to the present, Griffin has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.

                   h.     Mayberry

      45.   Mayberry is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2017.

      46.   From approximately March 2018 to the present, Mayberry has

worked at the LaRocca Clinics where she implements the Predetermined Protocol

by providing chiropractic examinations, including those identified on Exhibit 2,

treatments, and diagnostic imaging services to patients that were not legitimate

and were not provided to address patients’ unique needs.

      47.   From approximately March 2018 to the present, Mayberry has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.


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                   i.     Semia

      48.   Semia is a citizen and resident of Florida and has been licensed to

practice chiropractic medicine in Florida since 2017.

      49.   From approximately February 2018 to the present, Semia has worked

at the LaRocca Clinics where she implements the Predetermined Protocol by

providing chiropractic examinations, including those identified on Exhibits 2 and

3, treatments, and diagnostic imaging services to patients that were not legitimate

and were not provided to address patients’ unique needs.

      50.   From approximately February 2018 to the present, Semia has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including examinations,

chiropractic treatments, and diagnostic imaging, performed pursuant to the

Predetermined Protocol.

                   j.     Bacaner

      51.   Bacaner is a citizen and resident of Florida and has been licensed to

practice medicine in Florida since 1990.

      52.   From approximately January 2017 to at least August 2018, Bacaner

worked at the LaRocca Clinics where he implemented the Predetermined Protocol

by providing medical examinations, including those identified on Exhibits 4 and




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8, that were not legitimate and were not provided to address patients’ unique

needs.

      53.   From approximately January 2017 to at least August 2018, Bacaner

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including medical

examinations, performed pursuant to the Predetermined Protocol.

                   k.    Torres-Ruiz

      54.   Torres-Ruiz is a citizen and resident of Florida and has been licensed

to practice medicine in Florida since 1995.

      55.   From approximately January 2017 to the present, Torres-Ruiz has

worked at the LaRocca Clinics where he implements the Predetermined Protocol

by providing medical examinations, including those identified on Exhibits 5 and

9, that were not legitimate and were not provided to address patients’ unique

needs.

      56.   From approximately January 2017 to the present, Torres-Ruiz has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including medical

examinations, performed pursuant to the Predetermined Protocol.




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                   l.     Rebein

      57.    Rebein is a citizen and resident of Florida and has been licensed as a

certified nurse practitioner in Florida since 2018.

      58.    From approximately January 2017 to the present, Rebein has worked

at the LaRocca Clinics where she implements the Predetermined Protocol by

assisting in providing or providing medical examinations, including those

identified on Exhibits 6 and 10, that were not legitimate and were not provided to

address patients’ unique needs.

      59.    From approximately January 2017 to the present, Rebein has

knowingly submitted, or caused to be submitted, fraudulent bills and supporting

documentation from the LaRocca Clinics for services, including medical

examinations, performed pursuant to the Predetermined Protocol.

             2.    The LaRocca Clinics

                   a.     All Accidents Chiropractic

      60.    All Accidents Chiropractic is an active Florida professional limited

liability company that provides treatment primarily, if not exclusively, to

individuals involved in automobile accidents. Its principal place of business is at

3301 5th Avenue South, St. Petersburg, Florida 33712. Michael LaRocca is the sole

member of All Accidents Chiropractic.




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          61.   Michael LaRocca formed All Accidents Chiropractic on February 5,

2010. According to an application for certificate of exemption from licensure filed

with AHCA on August 29, 2019, Michael LaRocca holds a 100% ownership interest

in All Accidents Chiropractic.

          62.   According to the entity’s 2021 Annual Report filed with the Florida

Department of State, Michael LaRocca is the manager of All Accidents

Chiropractic and Blake LaRocca is its registered agent.

          63.   At all relevant times, All Accidents Chiropractic has operated as a

“clinic”1 as that term is defined in Fla. Stat. § 400.9905(4).                     All Accidents

Chiropractic is an unlicensed clinic that obtained a certificate of exemption from

licensure from AHCA on September 11, 2019 pursuant to Fla. Stat. § 400.9905(4)(g).

Prior to that date, All Accidents Chiropractic operated as a wholly-owned exempt

clinic.

          64.   From at least January 2017 through the present, All Accidents

Chiropractic has knowingly submitted, or caused to be submitted, to State Farm

Mutual and State Farm Fire bills and supporting documentation that are

fraudulent because they represent services were medically necessary and lawfully

rendered when, in fact, they were not medically necessary and were not lawfully



1Pursuant to Fla. Stat. § 400.9905(4), a “clinic” is defined as “an entity where health care services
are provided to individuals and which tenders charges for reimbursement for such services[.]”

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rendered. The appendix attached hereto as Exhibit 1 summarizes the medically

unnecessary and unlawful services provided to All Accidents Chiropractic’s

patients pursuant to the Predetermined Protocol.2

                        b.      LaRocca Chiropractic Centers

        65.     LaRocca Chiropractic Centers is an active Florida limited liability

company that provides treatment primarily, if not exclusively, to individuals

involved in automobile accidents. Its principal place of business is at 2017 Drew

Street, Clearwater, Florida 33765. Michael LaRocca is the sole member of LaRocca

Chiropractic Centers.

        66.     LaRocca Chiropractic Centers was formed on July 19, 2010 with

Michael LaRocca serving as its manager.                     According to an application for

certificate of exemption from licensure filed with AHCA on August 29, 2019,

Michael LaRocca holds a 100% ownership interest in LaRocca Chiropractic

Centers.


2Exhibit 1 identifies: (1) patients’ claim number (col. B); (2) patients’ initials (col. C); (3) the date
of patients’ auto accidents (col. D); (4) whether Defendants submitted claims to State Farm Mutual
or State Farm Fire (col. E); (5) the patient’s age on his or her first visit to the LaRocca Clinics (col.
F); (6) patients’ first and last dates of service at the LaRocca Clinics (cols. G-H); (7) the location(s)
of the LaRocca Clinics where the patient allegedly received services (col. I); (8) patients’ total
number of visits to the LaRocca Clinics, which typically includes one or more dates of service on
which the patient receives no treatment modalities, that were billed to State Farm Mutual and
State Farm Fire (col. J); (9) the medically unnecessary and unlawful services the LaRocca
Providers rendered to patients pursuant to the predetermined course of treatment, including
manual therapy, chiropractic manipulations, cold laser, traction, exercise, TENS units,
evaluations, and x-rays (cols. K-T); and (10) the total amounts of fraudulent bills the LaRocca
Clinics submitted, or caused to be submitted, to State Farm Mutual and State Farm Fire for each
patient’s treatment (col. U).
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      67.   According to the entity’s 2021 Annual Report filed with the Florida

Department of State, Michael LaRocca is the manager and resident agent of

LaRocca Chiropractic Centers.

      68.   At all relevant times, LaRocca Chiropractic Centers has operated as a

“clinic” as that term is defined in Fla. Stat. § 400.9905(4). LaRocca Chiropractic

Centers is an unlicensed clinic that obtained a certificate of exemption from

licensure from AHCA on September 11, 2019 pursuant to Fla. Stat. § 400.9905(4)(g).

Prior to that date, LaRocca Chiropractic Centers operated as a wholly-owned

exempt clinic.

      69.   From at least January 2017 through the present, LaRocca Chiropractic

Centers has knowingly submitted, or caused to be submitted, to State Farm Mutual

and State Farm Fire bills and supporting documentation that are fraudulent

because they represent services were medically necessary and lawfully rendered

when, in fact, they were not medically necessary and were not lawfully rendered.

The appendix attached hereto as Exhibit 1 summarizes the medically unnecessary

and unlawful services provided to LaRocca Chiropractic Centers’ patients

pursuant to the Predetermined Protocol.

                  c.     LaRocca Chiropractic Injury Center

      70.   LaRocca Chiropractic Injury Center is an active Florida limited

liability company that provides treatment primarily, if not exclusively, to


                                       23
individuals involved in automobile accidents. According to the entity’s most

recent Annual Report filed with the Florida Department of State, its principal place

of business is at 11401 North 56 Street, Suite 18, Temple Terrace, Florida 33617.

Michael LaRocca and Major are the members of LaRocca Chiropractic Injury

Center.

      71.   LaRocca Chiropractic Injury Center was formed on May 9, 2011 with

Michael LaRocca and Major serving as its managers. According to an application

for certificate of exemption from licensure filed with AHCA on August 29, 2019,

Michael LaRocca and Major each hold 50% ownership interests in LaRocca

Chiropractic Injury Centers.

      72.   According to the entity’s 2021 Annual Report filed with the Florida

Department of State, Michael LaRocca and Major are the managers of LaRocca

Chiropractic Injury Center and Blake LaRocca is its registered agent.

      73.   At all relevant times, LaRocca Chiropractic Injury Center has

operated as a “clinic” as that term is defined in Fla. Stat. § 400.9905(4). LaRocca

Chiropractic Injury Center is an unlicensed clinic that obtained a certificate of

exemption from licensure from AHCA on September 11, 2019 pursuant to Fla. Stat.

§ 400.9905(4)(g). Prior to that date, LaRocca Chiropractic Injury Center operated

as a wholly-owned exempt clinic.




                                        24
      74.   From at least January 2017 through the present, LaRocca Chiropractic

Injury Center has knowingly submitted, or caused to be submitted, to State Farm

Mutual and State Farm Fire bills and supporting documentation that are

fraudulent because they represent services were medically necessary and lawfully

rendered when, in fact, they were not medically necessary and were not lawfully

rendered. The appendix attached hereto as Exhibit 1 summarizes the medically

unnecessary and unlawful services provided to LaRocca Chiropractic Injury

Center’s patients pursuant to the Predetermined Protocol.

                  d.    LaRocca Injury Centers

      75.   LaRocca Injury Centers is an active Florida limited liability company

that provides treatment primarily, if not exclusively, to individuals involved in

automobile accidents.    Its principal place of business is at 2017 Drew St.,

Clearwater, Florida 33765. Michael LaRocca is the sole member of LaRocca Injury

Centers.

      76.   LaRocca Injury Centers was formed on June 28, 2011 with Michael

LaRocca serving as its manager. On information and belief, LaRocca Injury

Centers operates as a wholly-owned exempt clinic and is owned, in whole or part,

by Michael LaRocca.




                                       25
      77.   According to the entity’s 2021 Annual Report filed with the Florida

Department of State, Michael LaRocca is the manager and resident agent of

LaRocca Injury Centers. Previously, Blake LaRocca served as its registered agent.

      78.   From at least January 2017 through the present, LaRocca Injury

Centers has knowingly submitted, or caused to be submitted, to State Farm Mutual

and State Farm Fire bills and supporting documentation that are fraudulent

because they represent services were medically necessary and lawfully rendered

when, in fact, they were not medically necessary and were not lawfully rendered.

The appendix attached hereto as Exhibit 1 summarizes the medically unnecessary

and unlawful services provided to LaRocca Injury Centers’ patients pursuant to

the Predetermined Protocol.

                  e.     LaRocca Auto Injury Center

      79.   LaRocca Auto Injury Center is an active Florida limited liability

company that provides treatment primarily, if not exclusively, to individuals

involved in automobile accidents. According to its most recent Annual Report

filed with the Florida Department of State, LaRocca Auto Injury Center’s principal

place of business is at 2718 Letap Ct., Land O Lakes, Florida 34638. Michael

LaRocca and Hunt are the members of LaRocca Auto Injury Center.

      80.   LaRocca Auto Injury Center was formed on June 20, 2017 with

Michael LaRocca and Hunt serving as its managers. According to an application


                                       26
for certificate of exemption from licensure filed with AHCA on August 29, 2019,

Michael LaRocca and Hunt each hold 50% ownership interests in LaRocca Auto

Injury Center.

      81.   According to the entity’s 2021 Annual Report filed with the Florida

Department of State, Michael LaRocca and Hunt are the managers of LaRocca

Auto Injury Center and Blake LaRocca is its registered agent.

      82.   At all relevant times, LaRocca Auto Injury Center has operated as a

“clinic” as that term is defined in Fla. Stat. § 400.9905(4). LaRocca Auto Injury

Center is an unlicensed clinic that obtained a certificate of exemption from

licensure from AHCA on September 11, 2019 pursuant to Fla. Stat. § 400.9905(4)(g).

Prior to that date, LaRocca Auto Injury Center operated as a wholly-owned

exempt clinic.

      83.   From at least January 2017 through the present, LaRocca Auto Injury

Center has knowingly submitted, or caused to be submitted, to State Farm Mutual

and State Farm Fire bills and supporting documentation that are fraudulent

because they represent services were medically necessary and lawfully rendered

when, in fact, they were not medically necessary and were not lawfully rendered.

The appendix attached hereto as Exhibit 1 summarizes the medically unnecessary

and unlawful services provided to LaRocca Auto Injury Center’s patients pursuant

to the Predetermined Protocol.

                                       27
IV.   ALLEGATIONS COMMON TO ALL CLAIMS

             Insurance Benefits Under Florida Law

      84.    According to Florida’s PIP statute, Fla. Stat. § 627.736 (“PIP Law”),

auto insurers are required to provide PIP Benefits to a limit of $10,000 to certain

designated individuals (“Insureds”), for losses resulting from injuries arising out

of the ownership, maintenance, or use of a motor vehicle. Insureds may also

purchase MPC Benefits, which may cover additional amounts after their PIP

Benefits are exhausted.

      85.    For purposes of PIP Benefits, insurers are required to pay 80% of all

reasonable expenses for medically necessary medical, surgical, x-ray, dental, and

rehabilitative services related to such injuries. (Fla. Stat. § 627.736(1)(a).)

      86.    Under Florida law, “‘[m]edically necessary’ refers to a medical service

or supply that a prudent physician would provide for the purpose of preventing,

diagnosing, or treating an illness, injury, disease, or symptom in a manner that is:

(a) [i]n accordance with generally accepted standards of medical practice; (b)

[c]linically appropriate in terms of type, frequency, extent, site, and duration; and

(c) [n]ot primarily for the convenience of the patient, physician, or other health

care provider.” (Fla. Stat. § 627.732(2)(a)-(c).)

      87.    Before January 1, 2013, injured parties who were eligible for PIP

Benefits were entitled to up to $10,000 of PIP Benefits for medically necessary


                                           28
goods and services. However, after an amendment to the PIP Law that became

effective on January 1, 2013, PIP Benefits are now limited to $2,500 unless a

physician or other professional licensed under other specific provisions of Florida

law determines the injured person sustained an EMC, in which case the injured

person becomes eligible for PIP Benefits of up to $10,000.              (Fla. Stat. §

627.736(1)(a)(3)-(4).)   Florida law defines an EMC as “a medical condition

manifesting itself by acute symptoms of sufficient severity, which may include

severe pain, such that the absence of immediate medical attention could

reasonably be expected to result in any of the following: (a) [s]erious jeopardy to

patient health[;] (b) [s]erious impairment of bodily functions[; or] (c) [s]erious

dysfunction of any bodily organ or part.” (Fla. Stat. § 627.732(16).)

      88.    State Farm Mutual and State Farm Fire are required to pay or deny

claims for PIP Benefits within 30 days and may be ordered to pay interest and

attorneys’ fees if they fail to pay the full amount owed within that time period.

(Fla. Stat. § 627.736(4)(b) and (d).)

      89.    However, neither an insurer nor an insured is required to pay a claim

or charge: (a) “[f]or any service or treatment that was not lawful at the time

rendered;” or (b) “[t]o any person who knowingly submits a false or misleading

statement relating to the claim or charges.” (Fla. Stat. § 627.736(5)(b)(1)(b)-(c).)

Pursuant to Fla. Stat. § 627.732(11), “‘[l]awful’ or ‘lawfully’ means in substantial

                                         29
compliance with all relevant applicable criminal, civil, and administrative

requirements of state and federal law related to the provision of medical services

or treatment.” “‘Knowingly’ means that a person, with respect to information, has

actual knowledge of the information; acts in deliberate ignorance of the truth or

falsity of the information; or acts in reckless disregard of the information, and

proof of specific intent to defraud is not required.” (Fla. Stat. § 627.732(10).)

      B.     Tort Claims For Non-Economic Loss

      90.    Individuals who are not at fault for causing an auto accident can also

potentially recover damages: (a) from at-fault drivers or their insurers through a

BI Claim; and/or (b) through a UM Claim from the individuals’ own insurers if

recovery under the BI Claim is insufficient. The benefits potentially available to

patients through BI and UM Claims include pain and suffering and other forms of

non-economic damages, as well as necessary medical expenses and lost wages.

      91.    To bring BI Claims or UM Claims, individuals must establish they

have: (a) a significant and permanent loss of an important bodily function, or (b) a

permanent injury (other than scarring or disfigurement) within a reasonable

degree of medical probability. (Fla. Stat. § 627.737(2).)

      92.    Defendants’ Predetermined Protocol, along with the corresponding

bills and supporting documentation that are fraudulent, are designed to

facilitate—and do facilitate—fraudulent claims for No-Fault Benefits, and to

                                          30
develop and maintain apparent quid pro quo cross-referral relationships with PI

Attorneys by supporting the PI Attorneys’ ability to profit from inflated BI Claims

against at-fault drivers and inflated UM Claims against their clients’ own insurers

if recovery under the BI Claims is insufficient to satisfy the clients’ purported

damages.

       C.     The Legitimate Treatment Of Patients With Strains And Sprains

       93.    The LaRocca Chiropractors and Bacaner, Torres-Ruiz, and Rebein3

purport to examine, diagnose, and treat patients who have been in auto accidents

and complain of neck and/or back pain, among other ailments.

       94.    For patients who have been in auto accidents and have legitimate

complaints of neck and/or back pain, or other ailments, a provider must perform

a detailed history and legitimate examination to arrive at a legitimate diagnosis.

       95.    Based upon a legitimate diagnosis, a licensed professional must

engage in medical decision-making to design a legitimate treatment plan tailored

to the unique circumstances of the patient. A licensed professional must also

engage in medical decision-making to determine legitimate treatment goals that

are tailored to the unique circumstances of the patient. During the course of care,




3Together, the LaRocca Chiropractors and Bacaner, Torres-Ruiz, and Rebein are referred to as the
“LaRocca Providers.”

                                              31
treatment plans and goals should be modified based upon the unique

circumstances of each patient and their response (or lack thereof) to treatment.

      96.    Legitimate treatment plans for patients with soft tissue injuries such

as strains and sprains may involve no treatment at all because many of these kinds

of injuries heal without any intervention, or a variety of interventions, including

different combinations of medications to reduce inflammation and relieve pain,

passive modalities, and/or active treatments depending on the unique

circumstances of each patient.

      97.    Passive modalities do not require any affirmative effort or movement

by patients. There are many kinds of passive modalities, including: (i) hot/cold

packs, (ii) ultrasound, (iii) manual therapy, (iv) chiropractic manipulations, (v)

traction, and (vi) cold laser. Active treatments require affirmative movement by

patients and include a wide variety of exercises, strengthening, and stretching

tailored to the unique circumstances of each patient, including the nature and

location of the injuries, the patients’ physical abilities, and the patients’ response

(or lack thereof) to any particular active treatment on any day or over time.

      98.    In legitimate treatment plans, passive modalities should generally be

used only to the extent necessary to reduce pain and facilitate active treatments.

To the extent they are needed at all, passive modalities should be administered

early in treatment and transition over time to active treatments. Active treatments

                                         32
should be introduced as soon as practicable to promote the actual healing of soft

tissue injuries, including strains and sprains.

      99.    The decision of which, if any, types of treatment are appropriate for

each patient, as well as the frequency, extent, and duration of treatments, should

vary depending on the unique circumstances of each patient, including: (a) the

patient’s age, social, and medical history; (b) the patient’s physical condition,

limitations, and abilities; (c) the location, nature, and severity of the patient’s injury

and symptoms; (d) the patient’s mechanism of injury; (e) the patient’s response (or

lack thereof) to treatment; and (f) any other information available to the licensed

professional regarding the patient’s condition.

      100.   Therefore, while one or more passive modalities may be medically

necessary on any particular visit to reduce pain and facilitate the patient’s ability

to perform active treatments, the same or substantially similar combination of

multiple passive modalities on nearly every visit would rarely, if ever, be

appropriate for any patient, let alone virtually every patient.

      101.   Treatment plans should be periodically reassessed and modified

based upon the patient’s progress and response (or lack thereof) to the treatment

he or she has already received. To the extent diagnostic tests such as x-rays and

MRIs are performed, treatment plans should incorporate their results.




                                           33
      102.   Patients should be discharged from treatment when they have

reached maximum medical improvement (“MMI”), such that no further treatment

is likely to benefit the patient, or when patients fail to respond to treatment.

      103.   The above-described process of examining, diagnosing, and treating

patients must be appropriately documented for the benefit of: (a) the licensed

professionals involved in the patient’s care; (b) other licensed professionals who

may treat the patient contemporaneously or subsequently; (c) the patient, whose

care and condition necessarily depends on the documentation of this information;

and (d) payors such as State Farm Mutual and State Farm Fire, so that they can

pay for reasonable and necessary treatment.

      104.   The LaRocca Providers do not legitimately examine, diagnose, or treat

patients based upon their unique needs. Instead, the LaRocca Providers subject

patients to the Predetermined Protocol in which patients receive virtually the same

types of services, consisting primarily of passive modalities, throughout their

treatment to exploit their No-Fault Benefits. Furthermore, the pervasive patterns

in the documentation of services Defendants submitted, or caused to be submitted,

to State Farm Mutual and State Farm Fire are not credible and reflect such services

were performed pursuant to the Predetermined Protocol, rather than because they

were medically necessary to address the unique needs of each patient.




                                         34
V.    THE FRAUDULENT PREDETERMINED PROTOCOL

      105.   When patients present to the LaRocca Clinics, they are not

legitimately examined, diagnosed, or treated for their unique needs. Instead, the

LaRocca Chiropractors subject patients to the Predetermined Protocol by

purportedly performing examinations in which they document the same or similar

complaints and injuries, and treating patients pursuant to a predetermined and

medically unnecessary course of treatment at the LaRocca Clinics. The LaRocca

Chiropractors also subject patients to medically unnecessary diagnostic imaging

consisting of x-rays and DXD Studies. Additionally, the LaRocca Chiropractors

refer patients to Bacaner, Torres-Ruiz, and Rebein who purport to perform

examinations in which they document the same or similar injuries, including that

patients sustained EMCs as a result of their accidents. Bacaner, Torres-Ruiz, and

Rebein use these findings to support their recommendations that patients continue

receiving the predetermined course of treatment at the LaRocca Clinics. The

LaRocca Chiropractors provide the predetermined courses of treatment to exploit

No-Fault Benefits until patients either unilaterally stop the treatment, or Bacaner,

Torres-Ruiz, and Rebein perform final examinations discharging patients with

permanent and unresolved injuries.

      106.   The bills and supporting documentation associated with the

purported chiropractic and medical examinations, treatment, diagnostic imaging,

                                        35
EMC findings, and other services purportedly rendered by the LaRocca Providers

to patients, which Defendants submitted, or caused to be submitted, to State Farm

Mutual and State Farm Fire are fraudulent because they falsely represent services

were medically necessary and lawfully rendered, when they were not. (See Fla.

Stat. § 627.736(5)(b)(1)(b)-(c).) Each step in Defendants’ fraudulent Predetermined

Protocol is discussed next.

             The LaRocca Chiropractors’ Fraudulent Initial Examinations

      107.   The first step in the Predetermined Protocol is for the LaRocca

Chiropractors      to   purportedly   perform initial   examinations    of patients

documenting the same or similar nonspecific complaints and examination

findings. For the majority of patients, the LaRocca Chiropractors document their

initial examinations using two-page templates in which they handwrite comments

purporting to summarize each patient’s subjective complaints, examination

findings,    and    other   information   (“Handwritten    Initial   Examinations”).

Representative samples of the Handwritten Initial Examinations are attached

hereto as Exhibit 16. For other patients, the LaRocca Chiropractors document their

initial examinations using typewritten forms purporting to summarize each

patient’s subjective complaints, examination findings, and other information

(“Narrative Initial Examinations”). Representative samples of the Narrative Initial

Examinations are attached hereto as Exhibit 17.

                                          36
      108.   Defendants submit, or cause to be submitted, the Handwritten Initial

Examinations and Narrative Initial Examinations to State Farm Mutual and State

Farm Fire to support office visit charges and to justify the predetermined

treatment and diagnostic imaging services purportedly provided to patients

pursuant to the Predetermined Protocol. The Handwritten Initial Examinations

and Narrative Initial Examinations are described in detail below.

             1.    Handwritten Initial Examinations

      109.   In their Handwritten Initial Examinations, the LaRocca Chiropractors

document non-credible patterns of patient complaints and examination findings

that are designed to justify the LaRocca Providers’ predetermined courses of

treatment. For example, the LaRocca Chiropractors document the overwhelming

majority of patients suffer from nonspecific neck and/or back pain following their

auto accidents. (Ex. 2, cols. G-I; Ex. 16, p. 1, 3.) The LaRocca Chiropractors also

document examination findings, including “muscle tenderness” in at least the (i)

posterior cervical paravertebral, (ii) upper trapezius, and/or (iii) posterior lumbar

paravertebral areas for the overwhelming majority of patients. (Ex. 2, cols. J-L; Ex.

16, p. 1, 3.) In addition, for many patients, the LaRocca Chiropractors purport to

find positive “palpation” tests and decreased range of motion in at least one but

often two or more spinal regions. (Ex. 16, p. 2, 4.)




                                         37
      110.   The LaRocca Chiropractors rarely document in their Handwritten

Initial Examinations the results of any neurological testing, including strength,

reflex, and sensory testing, which would be indicated when patients complain of

radiating pain. For example, in an intake form completed by patient H.K. during

her initial visit to the LaRocca Clinics on July 24, 2017, she indicated she was

experiencing pain that radiated into her arms and legs. (Ex. 18, p. 2.) However, in

a Handwritten Initial Examination for H.K. prepared that same day, neither

Michael LaRocca nor another LaRocca Chiropractor, Cambron, documented the

results of any strength, reflex, and sensory testing, and therefore failed to perform

necessary testing to meaningfully determine whether H.K.’s symptoms were

caused by injuries to her nervous system. (Id. at p. 4-5.)

      111.   In addition to failing to document important clinical information,

such as the results of neurological testing, the Handwritten Initial Examinations

do not meaningfully document patient complaints or examination findings with

sufficient specificity. Patient complaints are generically documented as “[n]eck

pain,” “[m]id-back pain,” and/or “[l]ow-back pain.” (Ex. 16, p. 1, 3.) The LaRocca

Chiropractors rarely, if ever, use pain ratings, or any other measure to assess the

nature and degree of each complaint. Furthermore, for examination findings,

including findings of “tenderness” and “palpation,” the LaRocca Chiropractors

use vague descriptions of “+” or “-” that do not indicate the specific degree or

                                         38
location of the patient’s injury or condition contributing to his or her symptoms.

(Id.) These vague and nonspecific descriptions of complaints and examination

findings fail to provide critical clinical information regarding the patient’s

condition or establish a baseline to assess patient progress, or lack thereof, over

time.

        112.   In addition to patient complaints and examination findings, the

LaRocca Chiropractors document “procedures,” or treatments, purportedly

provided to each patient during his or her first visit to the LaRocca Clinics. (Id.)

As described in more detail below (Section V.C), these treatments virtually always

reflect patients receive the same or substantially similar combination of at least

three passive modalities, including (i) manual therapy, (ii) chiropractic

manipulations, (iii) cold laser (billed as an “unlisted modality” using CPT Code

97039), and (iv) cervical traction, and an active treatment, therapeutic exercises.

Additionally, this list reflects many patients receive durable medical equipment,

almost always a TENS unit, on their first visit to the LaRocca Clinics. (Id.; see also

Ex. 1, col. P.)

        113.   Importantly, in their Handwritten Initial Examinations, the LaRocca

Chiropractors do not include treatment plans tailored to the unique needs and

circumstances of patients. (Ex. 2, col. N.) They do not document the types of

modalities that should be used to address the patients’ unique injuries and why,

                                         39
the frequency with which each should be used (e.g., as needed, every visit), or any

specific types of active treatments to be performed.            Instead, the LaRocca

Chiropractors only document “3XWEEK” for virtually every patient regardless of

the nature and severity of their injuries, length of time since their accident, or their

response to any treatment they already received. (Ex. 2, col. M; Ex. 16, p. 1, 3.)

Moreover, the LaRocca Chiropractors make no effort to document unique,

measurable treatment goals to establish a baseline to assess the patient’s progress,

or lack thereof, over time. (Ex. 2, col. O.) The LaRocca Chiropractors do not

document treatment plans or goals because patients are subjected to the same or

substantially similar combination of at least three passive modalities on almost

every date of service, plus a vague active treatment, regardless of their unique

circumstances. The absence of unique treatment plans allows Defendants to

exploit patients’ No-Fault Benefits by submitting separate charges for multiple

modalities on almost every date of service.

      114.   Taken together, the Handwritten Initial Examinations reflect similar

patterns of patient complaints and examination findings that are not credible, and

often lack critical clinical information regarding patients’ complaints and

symptoms. As a result, the Handwritten Initial Examinations indicate the LaRocca

Chiropractors are not performing legitimate examinations.            In addition, the

absence of treatment plans and goals indicate the LaRocca Chiropractors are not

                                          40
creating individualized treatment programs to address each patient’s unique

medical needs.

             2.     Narrative Initial Examinations

      115.   Like in their Handwritten Initial Examinations, the LaRocca

Chiropractors document in their Narrative Initial Examinations non-credible

patterns of patient complaints and examination findings that are designed to

justify the LaRocca Providers’ predetermined courses of treatment. The LaRocca

Chiropractors purport to find the overwhelming majority of patients suffer from

nonspecific bilateral neck and/or back pain, see Ex. 3, cols. H-I, which is almost

always described as “moderate,” “moderately severe,” or “severe,” see Ex. 17, p. 1,

3. The LaRocca Chiropractors also frequently document non-credible “objective”

examination findings, including (i) subluxations in multiple vertebrae in typically

two or more spinal regions and the sacrum and/or ilium; (ii) severe bilateral

spasms in multiple areas of the neck and back; and (iii) severe pain in multiple

vertebrae typically in at least two spinal regions. (Ex. 3, cols. J-M; Ex. 17, p. 1, 3.)

      116.   The LaRocca Chiropractors recently began using a new templated

form to record their Narrative Initial Examinations in which they document non-

credible findings of bilateral tenderness in multiple muscle groups, spasms in two

or more regions of the spine, and “hypomobility” and “asymmetry” at vertebrae




                                           41
in two or more regions of the spine and the sacrum for almost all patients. (See Ex.

19 (representative sample of new templated form).)

       117.     Unlike in the Handwritten Initial Examinations, in the Narrative

Initial Examination, the LaRocca Chiropractors purport to document the results of

neurological tests, including reflex testing. (Ex. 17, p. 1, 3.) However, none of the

results they document matter because patients receive the same boilerplate

treatment recommendations regardless of their symptoms or conditions.

       118.     The LaRocca Chiropractors also purport to diagnose patients with

injuries in at least two regions of the spine, including “spinal enthesopathy” in the

cervical, thoracic, and/or lumbar regions of the spine. (Id. at p. 2, 4.) Additionally,

the LaRocca Chiropractors virtually always report the patient’s symptoms are

“acute” in nature, even though the accidents for at least some patients occurred

months before their initial examination at the LaRocca Clinics, indicating their

symptoms related to the auto accident would not be acute.4 (Ex. 3, compare col. D

with col. E.)

       119.     In a section of the Narrative Initial Examinations labeled “plan,” the

LaRocca Chiropractors document treatments purportedly provided to the patient




4 In general, the “acute” phase lasts up to the first few weeks after an injury. To the extent the
LaRocca Chiropractors document “acute” injuries during their initial examinations of patients
whose auto accidents occurred months earlier, either: (a) the acute injuries did not occur during
the auto accidents, or (b) the injuries are not acute.

                                               42
during his or her initial visit to the LaRocca Clinics, and typically reflect patients

received durable medical equipment, usually a TENS unit, during their initial

visit. (Ex. 17, p. 2, 4.)

       120.    This “plan” section is not a legitimate treatment plan tailored to the

unique needs and circumstances of patients. In fact, the LaRocca Chiropractors do

not include individualized treatment plans in the Narrative Initial Examinations.

(Ex. 3, col. P.) They do not document which modalities should be used to address

the patients’ unique injuries and why, the frequency with which each should be

used, or any specific types of active treatments to be performed. Instead, they

typically recommend only that the patient treat three times per week regardless of

the nature and severity of their injuries, length of time since their accident, or any

treatment previously received. (Ex. 3, col. O.) Nor do the LaRocca Chiropractors

document treatment goals or a baseline to assess the patient’s progress, or lack

thereof, over time. (Ex. 3, col. Q.) The LaRocca Chiropractors do not document

unique treatment plans or goals in their Narrative Initial Examinations because

patients are subjected to the same or substantially similar combination of at least

three passive modalities on almost every date of service, plus a vague active

treatment, regardless of their unique circumstances.        The absence of unique

treatment plans allows Defendants to exploit patients’ No-Fault Benefits by




                                          43
submitting separate charges for multiple modalities on almost every date of

service.

        121.   Like the Handwritten Initial Examinations, the Narrative Initial

Examinations reflect similar patterns of patient complaints and examination

findings that are not credible and indicate the LaRocca Chiropractors are not

performing legitimate examinations. In addition, the absence of treatment plans

and goals indicate the LaRocca Chiropractors are not creating individualized

treatment programs to address each patient’s unique medical needs.

        B.     Bacaner’s, Torres-Ruiz’s, And Rebein’s Fraudulent Medical
               Examinations

        122.   Another important step in the Predetermined Protocol is for the

LaRocca Chiropractors to refer patients to Bacaner, Torres-Ruiz, and Rebein for

medical examinations.      Bacaner, Torres-Ruiz, and Rebein collectively have

provided the overwhelming majority of these medical examinations since January

2017.

        123.   Pursuant to the Predetermined Protocol, Bacaner, Torres-Ruiz, and

Rebein perform initial medical examinations (“Initial Medical Examinations”) in

which they purport to take the patient’s history, examine and diagnose the patient,

and formulate treatment recommendations.             As with the chiropractic

examinations, Defendants bill for, and profit from, these examinations.



                                        44
      124.   Bacaner, Torres-Ruiz, and Rebein do not perform their Initial Medical

Examinations for legitimate medical reasons. Rather than legitimately examining

patients and formulating treatment plans, Bacaner, Torres-Ruiz, and Rebein

perform their Initial Medical Examinations to confirm patients are injured,

attribute those injuries solely to the auto accidents, and support the alleged need

for the predetermined course of care at the LaRocca Clinics.

      125.   In addition, Bacaner, Torres-Ruiz, and Rebein perform their Initial

Medical Examinations to falsely document nearly all patients sustained an EMC,

which they use to further support the alleged need for the predetermined course

of care at the LaRocca Clinics. These findings of EMCs are not legitimate. Instead,

they are designed to exploit patients’ available No-Fault Benefits and not to

address their unique needs.

      126.   Because of their ability to document findings of EMCs, Bacaner,

Torres-Ruiz, and Rebein are critical to the success of Defendants’ fraudulent

scheme. Before January 1, 2013, injured parties who were eligible for PIP Benefits

were entitled to up to $10,000 of PIP Benefits for medically necessary goods and

services. Then, in 2012, the Florida Legislature amended the PIP Law in an effort

“to reduce fraud in order to lower the cost of insurance premiums.” Progressive

Am. Ins. Co. v. Eduardo J. Garrido D.C. P.A., 211 So. 3d 1086, 1089 (Fla. Dist. Ct. App.

2017), review denied sub nom. Eduardo J. Garrido D.C. P.A v. Progressive Am. Ins. Co.,

                                          45
2017 WL 2874837 (Fla. July 6, 2017). The amendment, which became effective on

January 1, 2013, limited PIP Benefits to $2,500 unless a physician or other

professional (including Bacaner, Torres-Ruiz, and Rebein) determined the injured

person sustained an EMC. In that case, the injured person is eligible for PIP

Benefits of up to $10,000 for such goods and services.          (See Fla. Stat. §

627.736(1)(a)(3)-(4).)

      127.   Because chiropractors are not allowed under the PIP Law to diagnose

patients with an EMC, Defendants could lawfully be limited to $2,500 in PIP

Benefits without medical examinations performed by Bacaner, Torres-Ruiz, and

Rebein. Thus, Defendants’ scheme involves Bacaner, Torres-Ruiz, and Rebein

performing medically unnecessary examinations of patients, which result in

findings of EMCs to help ensure the full $10,000 in PIP Benefits are available for

Defendants to exploit.

      128.   The LaRocca Chiropractors know Bacaner, Torres-Ruiz, and Rebein

will document findings of EMCs before they even examine patients. For example,

patient N.R.W. began treating at the LaRocca Clinics on February 14, 2020. (Ex. 1,

Line 483.) During N.R.W.’s visit on February 24, 2020, Mayberry prepared a

Handwritten Daily Note indicating the patient was scheduled for an appointment

later that week with “MD” (i.e., Rebein) “for EMC”:




                                       46
      (Ex. 20.)

      129.   Two days later, on February 26, 2020, Rebein purported to examine

N.R.W. and prepared an Initial Medical Examination documenting—as Mayberry

predicted—that N.R.W. sustained an EMC. (Id.)

      130.   Similarly, on October 29, 2020, a LaRocca Chiropractor purported to

examine patient B.W. and prepared a Handwritten Initial Examination in which

the LaRocca Chiropractor documented “EMC” under “Patient Instructions” and

referred B.W. for an examination by Rebein. (Ex. 21; see also Ex. 1, Line 602.) On

the same day, Rebein purported to examine B.W. and prepared an Initial Medical

Examination finding B.W. sustained an EMC, just as the LaRocca Chiropractor

instructed. (Id.) These examples show the EMC determinations made by Bacaner,

Torres-Ruiz, and Rebein are not legitimate and predetermined.

             1.    Bacaner’s Initial Medical Examinations

      131.   Bacaner’s Initial Medical Examinations reflect non-credible patterns

of examination findings and assessments of patients’ current condition that are the

same or similar across virtually all patients and designed to justify the

predetermined course of treatment provided to patients at the LaRocca Clinics and




                                        47
help ensure their full $10,000 in PIP Benefits are available for Defendants to

exploit.

      132.   For example, Bacaner documents the overwhelming majority of

patients have nonspecific “tenderness, tightness, and diminished range of motion”

in their cervical and lumbar spinal regions. (Ex. 4, cols. F-K; Ex. 22, p. 2, 4

(representative samples of Bacaner’s Initial Medical Examinations).) He does not

describe the nature and degree of such “tenderness” and “tightness,” including

the particular vertebral segments or muscles of the cervical and lumbar spinal

regions exhibiting such findings. (Ex. 22, p. 2, 4.) Nor does he indicate the degree

limitation for range of motion or the plane (or planes) of movement purportedly

reflecting limited range of motion. (Id.)

      133.   Although there are numerous orthopedic tests physicians can and

should use depending on the unique circumstances of each patient to diagnose the

injuries or conditions contributing to his or her symptoms, Bacaner rarely, if ever,

documents the performance of orthopedic tests in his reports.         (See Ex. 22.)

Furthermore, Bacaner rarely, if ever, documents the performance of any

neurological tests, including strength, reflex, and sensory testing, that are

commonly used to diagnose patients, create treatment plans, and establish a

baseline to assess the patient’s progress, or lack thereof, over time. (Id.) Without

such fundamental clinical information, Bacaner cannot—and does not—create

                                            48
medically appropriate diagnoses of patients and individually tailored treatment

plans.

         134.   Regardless of the patient’s unique circumstances, histories, or

injuries, Bacaner concludes the patient has sustained an “emergency medical

condition(s) requiring ongoing medical treatment[.]” (Ex. 4, col. L; Ex. 22, p. 2, 4.)

This finding helps ensure the patient’s full $10,000 in PIP Benefits are available for

Defendants to exploit. However, Bacaner’s reports fail to meaningfully describe

medical conditions that in the absence of treatment could result in serious jeopardy

to patient health, serious impairment of bodily functions, or serious dysfunction

of any bodily organ or part. (See Fla. Stat. § 627.732(16).) His reports, at best,

describe soft tissue injuries that may not require any treatment at all because many

of these injuries heal without any intervention. It is not credible that nearly all

patients Bacaner examined sustained such serious injuries.

         135.   Bacaner’s Initial Medical Examinations also purport to document

nearly identical treatment recommendations for every patient, regardless of the

patient’s unique circumstances. Bacaner virtually always recommends patients

begin or continue “chiropractic physiotherapy,” without recommending any

changes or modifications in the modalities purportedly provided to patients by

the LaRocca Chiropractors. (Ex. 4, col. M; Ex. 22, p. 2, 4.)




                                         49
      136.   Bacaner’s nearly uniform recommendation to continue chiropractic

care does not make clinical sense given his examinations are performed, at least in

part, based on the patient’s nonresponse to that same treatment previously

provided at the LaRocca Clinics. The fact he does not recommend any changes to

the chiropractic treatment shows his consultations are not legitimate and are

predetermined.

      137.   Additionally, Bacaner almost always (i) recommends patients receive

MRIs, typically of the cervical and lumbar spinal regions; and (ii) concludes the

patient’s conditions as documented in his reports were caused solely by the

patient’s motor vehicle accident. (Ex. 4, cols. N-O; Ex. 22, p. 2, 4.)

      138.   Collectively, the non-credible findings in Bacaner’s Initial Medical

Examinations and the absence of important clinical information that could be used

to legitimately diagnose patients and formulate individually tailored treatment

plans indicate the true purpose of such examinations is to rubber stamp the

medically unnecessary treatment provided at the LaRocca Clinics and find

patients sustained EMCs as a result of their accidents to ensure their full $10,000

in PIP Benefits are available for Defendants to exploit.

             2.     Torres-Ruiz’s Initial Medical Examinations

      139.   Like Bacaner’s Initial Medical Examinations, those prepared by

Torres-Ruiz reflect non-credible patterns of examination findings and assessments


                                          50
of patients’ current condition that are the same or similar across virtually all

patients and designed to justify the predetermined course of treatment provided

to patients at the LaRocca Clinics and ensure their full $10,000 in PIP Benefits are

available for Defendants to exploit.

       140.   Torres-Ruiz documents patients suffer from some combination of

“tenderness, spasm, and guarding” in the cervical, thoracic, and lumbar spinal

regions. (Ex. 5, cols. F-H, J, K-M; Ex. 23, p. 3, 8 (representative samples of Torres-

Ruiz’s Initial Medical Examinations).) Like Bacaner, Torres-Ruiz does not indicate

the specific area of the cervical or lumbar spinal regions, such as a particular

vertebrae or area of paraspinal muscles, purportedly exhibiting tenderness,

spasm, and/or guarding. (Ex. 23, p. 3, 8.) In addition, Torres-Ruiz documents the

overwhelming majority of patients have painful range of motion in the cervical

and lumbar spinal regions. (Ex. 5, cols. I, N; Ex. 23, p. 3, 8-9.) Torres-Ruiz does

not indicate the degree limitation for range of motion and rarely describes the

nature and degree of pain experienced during range of motion testing. (Ex. 23, p.

3, 8-9.)

       141.   Without determining the specific pain generators and mechanisms of

injury, and without documenting examination findings with specificity, Torres-

Ruiz is unable to formulate a true diagnostic picture for patients or develop

individually tailored treatment plans. Furthermore, he is unable to determine

                                         51
whether and to what extent the patient is progressing in his or her course of

treatment with the LaRocca Clinics.

       142.   Although there are numerous orthopedic tests providers can and

should use to diagnose the injuries or conditions contributing to their symptoms,

depending on the unique circumstances of each patient, Torres-Ruiz, like Bacaner,

rarely, if ever, documents the performance of orthopedic tests in his reports. (See

Ex. 23.) Additionally, although Torres-Ruiz purports to document the results of

neurological tests, including strength, reflex, and sensory testing, none of the

results he documents matter because all patients receive the same boilerplate

treatment recommendations regardless of their symptoms or conditions.

       143.   Torres-Ruiz purports to diagnose virtually all patients with

nonspecific “pain” in at least one but typically two or more spinal regions. (Id. at

p. 3-4, 9.) Torres-Ruiz also concludes the patient’s injuries were solely caused by

his or her auto accident. (Ex. 5, col. P; Ex. 23, p. 4, 9.)

       144.   To help ensure Defendants can exploit the patient’s full $10,000 in PIP

Benefits, Torres-Ruiz concludes patients sustained EMCs as a result of their auto

accidents. (Ex. 5, col. O; Ex. 23, p. 4, 9.) Like Bacaner’s reports, Torres-Ruiz’s

reports fail to meaningfully describe medical conditions that in the absence of

treatment could result in serious jeopardy to patient health, serious impairment of

bodily functions, or serious dysfunction of any bodily organ or part. (See Fla. Stat.

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§ 627.732(16).) His reports, at best, describe soft tissue injuries that may not require

any treatment at all because many soft tissue injuries heal without any

intervention. It is not credible nearly all of the patients Torres-Ruiz examined

sustained such serious injuries.

       145.   Torres-Ruiz also purports to document nearly identical treatment

recommendations for every patient, regardless of the patient’s unique

circumstances.     He virtually always recommends patients continue or begin

“physiotherapy” including (i) cold laser therapy, (ii) manual therapy, (iii) electric

muscle stimulation, and (iv) therapeutic exercises. (Ex. 5, col. Q; Ex. 23, p. 4, 9-10.)

Torres-Ruiz does not recommend any specific changes or modifications in the

modalities purportedly provided to patients by the LaRocca Chiropractors. (Ex.

23, p. 4, 9-10.)

       146.   Torres-Ruiz’s   nearly    uniform     recommendation       to   continue

chiropractic care does not make clinical sense given his examinations are

performed, at least in part, based on the patient’s nonresponse to the same

treatment previously provided at the LaRocca Clinics. The fact he does not

recommend any changes to the chiropractic treatment shows his consultations,

like those performed by Bacaner, are not legitimate and are predetermined.

       147.   Collectively, the non-credible findings in Torres-Ruiz’s Initial

Medical Examinations and the absence of important clinical information that could

                                          53
be used to legitimately diagnose patients and formulate individually tailored

treatment plans indicate the true purpose of such examinations is to rubber stamp

the medically unnecessary treatment provided at the LaRocca Clinics and to find

patients sustained EMCs as a result of their accidents to ensure their full $10,000

in PIP Benefits are available for Defendants to exploit.

             3.     Rebein’s Initial Medical Examinations

      148.   Like Bacaner’s and Torres-Ruiz’s Initial Medical Examinations,

Rebein’s Initial Medical Examinations reflect non-credible patterns of examination

findings and assessments of patients’ current condition that are the same or similar

across virtually all patients and designed to justify the predetermined course of

treatment provided to patients at the LaRocca Clinics and help ensure their full

$10,000 in PIP Benefits are available for Defendants to exploit.

      149.   Rebein documents virtually all patients suffer from a combination of

tenderness, tightness, spasm, and/or guarding in the cervical and lumbar spinal

regions. (Ex. 6, cols. F, H; Ex. 24, p. 3, 7 (representative samples of Rebein’s Initial

Medical Examinations).) Like Bacaner and Torres-Ruiz, Rebein fails to indicate

the specific area of the cervical or lumbar spinal regions, such as a particular

vertebrae or area of paraspinal muscles, purportedly experiencing tenderness,

tightness, spasm, and/or guarding. (Ex. 24, p. 3, 7.) In addition, Rebein’s Initial

Medical Examinations document the overwhelming majority of patients have


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diminished and/or painful range of motion in the cervical and lumbar spinal

regions. (Ex. 6, cols. G, I; Ex. 24, p. 3, 7.) However, Rebein’s reports do not indicate

the degree limitation for range of motion and rarely describe the nature and degree

of pain experienced during range of motion testing. (Ex. 24, p. 3, 7.)

      150.   Without determining the specific pain generators and mechanisms of

injury, and without documenting examination findings with specificity, Rebein—

like Bacaner and Torres-Ruiz—is unable to formulate a true diagnostic picture for

patients or develop individually tailored treatment plans. Furthermore, she is

unable to determine whether and to what extent the patient is progressing in his

or her course of treatment with the LaRocca Clinics.

      151.   Rebein, like Bacaner and Torres-Ruiz, rarely, if ever, documents the

performance of orthopedic tests in her reports. (See Ex. 24.) Although Rebein

purports to document the results of neurological tests, including strength, reflex,

and sensory testing, none of the results she documents matter because all patients

receive the same boilerplate treatment recommendations regardless of their

symptoms or conditions.

      152.   To ensure Defendants can exploit the patient’s full $10,000 in PIP

Benefits, Rebein documents the same boilerplate conclusion as Bacaner and

Torres-Ruiz that patients sustained EMCs as a result of their auto accidents. (Ex.

6, cols. J, K; Ex. 24, p. 3, 8.) Consistent with Bacaner and Torres-Ruiz, Rebein fails

                                          55
to meaningfully describe medical conditions that in the absence of treatment could

result in serious jeopardy to patient health, serious impairment of bodily

functions, or serious dysfunction of any bodily organ or part. (See Fla. Stat. §

627.732(16).) Her reports, at best, describe soft tissue injuries that may not require

any treatment at all because many of these injuries heal without any intervention.

It is not credible nearly all patients Rebein examined sustained such serious

injuries.

       153.   Rebein   purports    to   document      nearly   identical   treatment

recommendations for every patient, regardless of the patient’s unique

circumstances, including recommendations to begin or continue chiropractic care.

(Ex. 6, col. L; Ex. 24, p. 4, 8.) Rebein does not recommend any specific changes or

modifications to the modalities purportedly provided to patients by the LaRocca

Chiropractors. (Ex. 24, p. 4, 8.) Like Bacaner and Torres-Ruiz, the fact Rebein does

not recommend any changes to the chiropractic treatment tailored to the patient’s

unique needs shows her consultations are not legitimate and are predetermined.

       154.   Taken together, the non-credible findings in Rebein’s Initial Medical

Examinations and the absence of important clinical information that could be used

to legitimately diagnose patients and formulate individually tailored treatment

plans indicate the true purpose of such examinations is to rubber stamp the

medically unnecessary treatment provided at the LaRocca Clinics and to find

                                         56
patients sustained EMCs as a result of their accidents to ensure their full $10,000

in PIP Benefits are available for Defendants to exploit.

      C.     The LaRocca Clinics’ Fraudulent Treatment

      155.   Following their initial examinations, the LaRocca Chiropractors

subject virtually all of their patients to the Predetermined Protocol consisting of

the same or substantially similar combination of at least three passive modalities

and therapeutic exercises on nearly every visit. (Ex. 1, cols. K-O.) The treatment

patients purportedly receive at the LaRocca Clinics is not meaningfully adjusted

over time to address patients’ progress, or lack thereof.

      156.   In most instances, as reflected in Exhibit 1, the modalities purportedly

provided to the LaRocca Clinics’ patients consist of the same or substantially

similar passive modalities (i.e., manual therapy, chiropractic manipulations to

multiple spinal regions, cold level laser (billed as an “unlisted modality”), and

mechanical traction) at nearly every visit, regardless of the patient’s response, or

lack thereof, to such modalities.

      157.   For example, patient P.F. treated at the LaRocca Clinics for 34 total

visits spanning about three months from July 24, 2018 to October 15, 2018 and

received the following passive modalities on nearly every visit: (1) manual

therapy, (2) chiropractic manipulations, (3) cold laser, and (4) mechanical traction.

(Ex. 1, Line 267.) According to daily treatment notes prepared by the LaRocca


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Chiropractors, P.F.’s condition stayed the “same” from visit to visit across her

three-month course of care. (Ex. 25, p. 3, 5-7 (representative samples of P.F.’s

Handwritten Daily Notes).) On October 15, 2018, Rebein prepared a Final Medical

Examination documenting P.F. continued to suffer from (i) pain in her cervical

region that “radiates to the right shoulder with a tingling sensation in the right

hand”; (ii) pain in her upper and mid-back regions; (iii) pain in the low back region

that “radiates to the right hip, leg, and feet with a numbness sensation”; (iv)

headaches; (v) left pectoral tenderness; and (vi) pain in her right knee. (Id. at p. 8.)

Rebein also documented (i) positive examination findings, including tenderness

and spasm in P.F.’s cervical spinal region, painful range of motion in P.F.’s cervical

and lumbar ranges of motion, and an antalgic (i.e., abnormal) gait; and (ii) 17 total

diagnoses, including injuries to all three spinal regions, caused solely by P.F.’s auto

accident. (Id. at p. 11-12.) Finally, Rebein concluded P.F. “sustained unresolved,

and permanent injuries specifically noted in the CERVICAL, THORACIC, and

LUMBAR SPINE REGIONS.” (Id. at p. 13 (emphasis in original).) Although none

of P.F.’s injuries resolved during her three-month course of care and her response

to treatment—as noted in Rebein’s final report—was “limited with frequent

recurring symptoms[,]” the LaRocca Chiropractors never meaningfully modified

her treatment. (Id.)




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      158.   In addition to the same or substantially similar combination of at least

three passive modalities, patients also purportedly receive active treatments (i.e.,

therapeutic exercises) during their visits. There is, however, no documentation

regarding what frequency (i.e., repetitions) or weight/resistance was involved

with the active treatments, and whether those activities or exercises were clinically

indicated. Nor is there documentation describing how patients responded to any

purported activities or exercise, whether changes were or should be made to the

progression of activities or exercises over time, or any other information to show

the activities or exercises were individually tailored to the patients’ unique needs.

Instead, the overwhelming majority of daily treatment notes prepared by the

LaRocca Chiropractors indicate only that “Therapeutic Exercise” was purportedly

performed by patients. (Ex. 26 (representative samples of the Handwritten Daily

Notes).)

      159.   For example, patient P.F. purportedly performed therapeutic exercise

on nearly every visit during the course of her three-month treatment at the

LaRocca Clinics. (Ex. 1, Line 267.) However, her daily treatment notes never

provide any details regarding the type of exercises or the number of sets and

repetitions she purportedly performed, the total duration of her exercises, the

muscles or structures involved in her exercises, or her response to the exercises

and how the exercises should be adjusted to reflect her progress (or lack thereof).

                                         59
(Ex. 25, p. 3, 5-7.)     Instead, P.F.’s daily treatment notes only indicate that

“Therapeutic Exercise” was performed. (Id.) Quite simply, this statement is

meaningless without more information.

      160.   In fact, the only documentation regarding therapeutic exercises

purportedly performed at the LaRocca Clinics that State Farm Mutual and State

Farm Fire have received is a one-paragraph explanation5 that patients use a

“pivoting apparatus” (i.e., wobble chair), see Ex. 27, that appears to be indicated

for low back pain and occasional references to “Pettibon wobble chair exercises”

in typewritten daily treatment notes prepared by the LaRocca Chiropractors. The

LaRocca Clinics have not provided documentation that use of the wobble chair

satisfies the requirements for individually tailored one-on-one supervised

therapy, which is a prerequisite for use of CPT Code 97110. Furthermore, even if

the LaRocca Chiropractors reference “Pettibon wobble chair exercises” in

typewritten daily treatment notes, they fail to provide basic information regarding

such exercises including what frequency (i.e., repetitions) or weight/resistance

was involved, and whether there was any progression in the exercises over time.




5 Defendants only sporadically include this explanation with medical records and bills they
submit to State Farm Mutual and State Farm Fire.

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      161.   The absence of any credible documentation regarding therapeutic

exercises indicates it is highly unlikely any clinically indicated exercises or other

activities were actually performed.

      162.   The same or substantially similar combination of at least three passive

modalities and a vague active treatment repeated across hundreds of patients and

thousands of visits over the span of at least four years is not credible or clinically

appropriate given the wide range of unique circumstances presented by each

patient, including the patient’s age, physical characteristics, symptoms, medical

history, ability to participate in treatment, and his or her response, or lack thereof,

to treatment. Moreover, this combination of modalities would rarely, if ever, be

medically necessary for any patient to receive throughout the course of his or her

treatment, let alone for nearly all patients to receive across the courses of their

treatment.

      D.     The Fraudulent Daily Treatment Notes

             1.     The Fraudulent Handwritten Daily Notes

      163.   To support fraudulent charges for the medically unnecessary services

provided at the LaRocca Clinics, Defendants submit, or cause to be submitted, to

State Farm Mutual and State Farm Fire daily treatment notes for each visit

prepared by LaRocca Chiropractors. The LaRocca Chiropractors document the

majority of daily treatment notes using handwritten, check-the-box templates


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(“Handwritten Daily Notes”) that are identical to forms used to prepare the

Handwritten Initial Examinations. (See Ex. 26.)

      164.   Like in the Handwritten Initial Examinations, the LaRocca

Chiropractors document in the Handwritten Daily Notes patients’ subjective

complaints by circling the area of the body where patients report pain. (Id.) The

LaRocca Chiropractors report nonspecific complaints of neck and/or back pain for

patients throughout their course of care at the LaRocca Clinics. The LaRocca

Chiropractors rarely, if ever, provide any additional information regarding

patients’ subjective complaints, such as pain scores or a description of the nature

and degree of pain, which could be used to establish a baseline to measure patient

progress, or lack thereof, during treatment.

      165.   Furthermore, the LaRocca Chiropractors document “objective”

complaints including “muscle tenderness” in at least the (i) posterior cervical

paravertebral, (ii) upper trapezius, and/or (iii) posterior lumbar paravertebral

areas for many patients throughout their entire course of care at the LaRocca

Clinics, which often lasts months. (Id.) The Handwritten Daily Notes have spaces

for the LaRocca Chiropractors to document the results of range of motion testing

and “tenderness to palpation,” but the LaRocca Chiropractors rarely, if ever,

complete these sections. (Id.)




                                        62
      166.   Additionally, in the “Assessment” section of the Handwritten Daily

Notes, the LaRocca Chiropractors fail to meaningfully document how patients

respond to any of the modalities they purportedly received at each visit, or the

patient’s overall progress, or lack thereof, to any of the therapies over time. (Id.)

Incredibly, in the overwhelming majority of the Handwritten Daily Notes, the

LaRocca Chiropractors document each patient’s condition remained the “same”

from visit to visit throughout their course of care at the LaRocca Clinics, without

recommending any changes to the patient’s course of treatment. (Id.)

      167.   For instance, patient P.F. treated at the LaRocca Clinics for 34 total

from July 24, 2018 to October 15, 2018. (Ex. 1, Line 267.) In a Handwritten Initial

Examination prepared on July 26, LaRocca Chiropractor Mayberry purported to

document P.F. suffered complaints of bilateral neck, mid-back, and low back pain,

and had “objective” findings of “tenderness” across her neck and back. (Ex. 25, p.

1-2.) For each of P.F.’s subsequent visits during her three-month course of care,

the LaRocca Chiropractors prepared Handwritten Daily Notes reflecting her

condition stayed the “same”—meaning she showed no clinical improvement. (Id.

at p. 3, 5-7.) Furthermore, the LaRocca Chiropractors documented P.F. continued

to have “objective” findings of “tenderness” across her spine and complaints of

pain in her neck, mid-back, and low back throughout her treatment.              (Id.)




                                         63
Although P.F.’s injuries did not resolve during her three-month course of care, the

LaRocca Chiropractors never meaningfully modified her treatment.

      168.   Similarly, patients D.H. and G.T. were purportedly injured in the

same accident on March 23, 2019 and began treating at the LaRocca Clinics on the

same day, April 1, 2019. (Ex. 1, Lines 371 and 372.) The Handwritten Daily Notes

prepared by the LaRocca Chiropractors reflect D.H.’s and G.T.’s conditions stayed

the “same” across their nearly three-month course of care. (Ex. 28, p. 1, 3-4

(representative samples of D.H.’s Handwritten Daily Notes); Ex. 29, p. 1, 3-4

(representative samples of G.T.’s Handwritten Daily Notes).) The Handwritten

Daily Notes prepared by the LaRocca Chiropractors also document D.H. and G.T.

had “objective” findings of “muscle tenderness” in multiple regions of their spine

and suffered complaints of pain in their neck, mid-back, and low back throughout

their courses of treatment. (Id.) Furthermore, both patients received identical

treatments, consisting of the same four passive modalities, on nearly every date of

service and ended treatment on the same day, June 24, 2019. (Ex. 1, Lines 371 and

372.) The LaRocca Chiropractors never meaningfully modified D.H.’s and G.T.’s

treatment despite the fact none of their injuries resolved during their nearly three-

month course of care.

      169.   In the Handwritten Daily Notes, the LaRocca Chiropractors purport

to document treatment patients receive on each visit. (See Ex. 26.) The treatments

                                         64
purportedly provided to patients are virtually identical and consist of the same or

substantially similar combination of at least three passive modalities, including

manual therapy, chiropractic manipulations to multiple spinal regions, cold level

laser, and mechanical traction, at nearly every visit, regardless of the patient’s

response, or lack thereof, to such modalities. As explained above (Section V.C),

although the LaRocca Chiropractors purport to document patients engage in

therapeutic exercise, they do not provide sufficient information regarding the

types of exercise patients purportedly performed. There is no documentation

regarding what frequency or weight/resistance was involved with the active

treatments, and whether those activities or exercises were clinically indicated.

Furthermore, the LaRocca Chiropractors fail to document any progression in

exercises over time.

      170.   Additionally, the LaRocca Chiropractors fail to meaningfully

document in the Handwritten Daily Notes how patients respond to the modalities

they purportedly received at each visit, or the patient’s overall progress, or lack

thereof, to any of the therapies over time.

             2.    The Fraudulent Narrative Daily Notes

      171.   In addition to the Handwritten Daily Notes, for some patients,

Defendants also submit, or cause to be submitted, to State Farm Mutual and State

Farm Fire daily treatment notes for visits using a typewritten form (“Narrative


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Daily Notes”) similar to the forms used to prepare the Narrative Initial

Examinations. (See Ex. 30 (representative samples of the Narrative Daily Notes).)

Like the Handwritten Daily Notes, the Narrative Daily Notes contain non-credible

patterns regarding patients’ complaints and progress.

      172.   Despite the litany of treatment modalities purportedly provided to

patients during their treatment at the LaRocca Clinics, in the “subjective” sections

of the Narrative Daily Notes, the LaRocca Chiropractors document many patients

continue to suffer moderate to severe bilateral neck and/or back pain throughout

their treatment at the LaRocca Clinics. (Id.)

      173.   As described above (Section V.A.2), in the “objective” sections of the

Narrative Initial Examinations, the LaRocca Chiropractors purport to document

not only that patients have joint subluxations, spasms, and pain across multiple

regions of the spine, but also document the specific vertebrae that purportedly

manifest these subluxations, spasms, and pain.          After the patient’s initial

examination, in subsequent Narrative Daily Notes, the LaRocca Chiropractors

continue documenting which specific vertebrae are affected at each visit. (Id.)

Incredibly, the specific locations of the subluxations, spasms, and pain

documented in the Narrative Daily Notes are virtually always identical to the

locations documented in the Narrative Initial Examinations. Indeed, this pattern

of copying findings in the Narrative Initial Examinations is seen across virtually

                                         66
every Narrative Daily Note from a patient’s initial examination to the end of his

or her treatment, which is often months later. These types of pervasive patterns

are not credible and highly implausible as they present across dozens of patients,

whose age, pre-existing conditions, mechanism of injuries, and a host of other

important factors, vary markedly.              Instead, they indicate the LaRocca

Chiropractors are not performing legitimate physical examinations and instead

are documenting fabricated, predetermined findings for patients.

       174.   For example, for patient R.A., Major created a Narrative Initial

Examination on March 8, 2017 reflecting R.A. had “objective” findings including

(i) subluxations on the right at C2, T6, the ilium, and the sacrum, and on the left at

C5, T2, L1, and L5; (ii) severe muscle spasms in the suboccipital, cervical, upper

thoracic, mid thoracic, lower thoracic, and lumbar regions bilaterally; and (iii)

severe pain in 20 vertebral segments, specifically at the occiput-T6 and T12-L5

bilaterally. (Ex. 31, p. 1; see also Ex. 1, Line 30.)

       175.   When Major saw R.A. two days later on March 10, he documented the

same “objective” findings in the Narrative Daily Note as he did in the Narrative

Initial Examination, including (i) subluxations of the same severity and in the same

location across the same 6 unique vertebrae, the ilium, and the sacrum; (ii) severe

spasms in the suboccipital, cervical, upper thoracic, mid thoracic, lower thoracic,




                                             67
and lumbar regions bilaterally; and (iii) severe pain in the same 20 vertebral

segments at the occiput-T6 and T12-L5 bilaterally:

       March 10, 2017 Narrative Daily Note




       (Ex. 31, p. 2.)

       176.    Two weeks later, on March 24, a different LaRocca Chiropractor,

Hunt, saw R.A. and purported to find subluxations, spasms, and pain in the same

specific locations and of the same severity as those documented by Major in the

Narrative Initial Examination:6




6  Defendants appear to use a computer program to generate the Narrative Initial Examinations
and Daily Notes. To further their scheme to defraud, Defendants abuse this program by applying
different language, phrases, and sentence structure in patient records to make it appear the
“objective” findings are legitimate and individualized to each patient when in fact they are copied
from one visit to the next. For example, Defendants replace certain descriptive terms like
“extreme” with synonyms like “marked” and phrases like “right posterior displacement of the
sacrum” with “[t]he sacrum was noted to be subluxated posteriorward on the right” to give the
illusion of variability in the Narrative Daily Notes, when in fact such terms and phrases describe
identical symptoms. This furthers Defendants’ fraudulent scheme by concealing that they do not
legitimately examine patients and, instead, simply copy non-credible findings from visit to visit.

                                                68
       March 24, 2017 Narrative Daily Note




       (Id. at p. 3.)

       177.    Indeed, although two different LaRocca Chiropractors saw R.A. 27

subsequent times between March 24 and R.A.’s final visit nearly four months later

on July 12, the LaRocca Chiropractors documented “objective” spinal examination

findings across all of the Narrative Daily Notes that were identical in location and

severity to the findings documented in the Narrative Initial Examination, namely:

(i) subluxations on the right at C2, T6, the ilium, and the sacrum, and on the left at

C5, T2, L1, and L5; (ii) severe muscle spasms in the suboccipital, cervical, upper

thoracic, mid thoracic, lower thoracic, and lumbar regions bilaterally; and (iii)

severe pain in the same 20 vertebral segments at the occiput-T6 and T12-L5

bilaterally.

       178.    The records Defendants prepared for other patients show similarly

incredible patterns. For example, patient T.M. treated at the LaRocca Clinics for

37 visits across the span of over four months from February 8, 2017 to June 19,

2017. (Ex. 1, Line 12.) On February 8, 2017, Hunt prepared a Narrative Initial


                                         69
Examination documenting T.M. had (i) subluxations on the right at C7, and on the

left at C2, L1, L5, and the sacrum; (ii) severe muscle spasms in the suboccipital,

cervical, upper thoracic, lower thoracic, and lumbar regions bilaterally; and (iii)

moderate pain bilaterally at the occiput-T2 and T11-L5. (Ex. 32, p. 1.) Over the

next four months, three different LaRocca Chiropractors, including Hunt, Major,

and Stewart, documented identical “objective” findings in the Narrative Daily

Notes. (Id. at p. 3-5 (representative samples of T.M.’s Narrative Daily Notes).)

      179.   Additionally, patient C.S. treated at the LaRocca Clinics for 33 visits

across the span of about four months from August 17, 2018 to December 11, 2018.

(Ex. 1, Line 280.)   On August 17, 2018, Semia prepared a Narrative Initial

Examination documenting C.S. had (i) subluxations on the right at C2, T1, and T11,

and on the left at C4, T7, and L2; (ii) severe muscle spasms in the suboccipital,

cervical, upper thoracic, lower thoracic, mid thoracic, and lumbar regions

bilaterally; and (iii) moderate pain bilaterally at C1-L2. (Ex. 33, p. 1.) Over the

next four months and 32 visits, Semia and Major prepared Narrative Daily Notes

documenting identical findings at every visit of (i) subluxations in the same six

vertebrae, including C2, T1, and T11 on the right, and C4, T7, and L2 on the left;

(ii) spasms of the same severity (severe) and in the same locations (suboccipital,

cervical, upper thoracic, lower thoracic, mid thoracic, and lumbar regions

bilaterally); and (iii) pain of the same severity (moderate) in the same 21 vertebrae

                                         70
(C1-L2 bilaterally). (Id. at p. 3-4 (representative samples of C.S.’s Narrative Daily

Notes).)

      180.   This pattern of copying findings from one visit to the next occurs

across almost all patients for whom the LaRocca Chiropractors prepare Narrative

Daily Notes and reflects pervasive patterns that are not credible across dozens of

patients whose age, pre-existing conditions, mechanism of injuries, and a host of

other important factors, vary markedly. Such uniformity in purported physical

examination findings across time, patients, and chiropractors is not only non-

credible, but highly implausible, if not physiologically impossible. Instead, these

repeated identical “findings” demonstrate the LaRocca Chiropractors are not

conducting legitimate physical examinations and are simply copying the key

findings following each Narrative Initial Examination to justify the predetermined

treatment modalities charged by the LaRocca Clinics.

      181.   In the Narrative Daily Notes, the LaRocca Chiropractors purport to

document treatment each patient received on each visit.          (See Ex. 30.)   The

treatments purportedly provided to patients are virtually identical and consist of

the same or substantially similar combination of at least three passive modalities,

including manual therapy, chiropractic manipulations to multiple spinal regions,

cold level laser, and mechanical traction, at nearly every visit, regardless of the

patient’s response, or lack thereof, to such modalities. As described above (Section

                                         71
V.C), although the LaRocca Chiropractors report patients engage in active

therapies, they rarely provide specific information regarding the types of exercise

the patient purportedly performed other than documenting patients performed

“Pettibon wobble chair exercises.” There is no documentation regarding what

frequency or weight/resistance was involved with the active treatments, and

whether there was any progression in exercises over time.

      182.   Like in the Handwritten Daily Notes, the LaRocca Chiropractors fail

to meaningfully document in the Narrative Daily Notes how patients respond to

any of the modalities they purportedly received at each visit, or the patient’s

overall progress, or lack thereof, to any of the therapies over time.

      E.     The LaRocca Providers’ Fraudulent Re-Examinations

      183.   Because patients are unique and respond differently to injuries and

interventions, treatment plans should be periodically reassessed and modified, if

appropriate, but there is no indication the LaRocca Providers ever perform a

meaningful re-examination of their patients’ progress to assess whether treatment

plans should be modified.

      184.   To begin, many patients are not re-examined at all during their course

of care at the LaRocca Clinics. For example, patient G.C. treated at the LaRocca

Clinics for 31 total visits across the span of about five and a half months from

August 11, 2017 to January 31, 2018. (Ex. 1, Line 91.) Patient G.C. purportedly


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received the same combination of passive modalities on virtually every visit,

including manual therapy, chiropractic manipulations, and cold laser on all 31

visits, and mechanical traction on 30 visits. (Id.) None of the Handwritten Daily

Notes prepared by the LaRocca Chiropractors indicate they re-examined G.C. to

assess whether his treatment plan should be modified.              (Ex. 34, p. 1-5

(representative samples of G.C.’s Handwritten Daily Notes).) Instead, the LaRocca

Chiropractors applied the same predetermined treatments on nearly every visit

despite the fact G.C.’s condition remained the “same” throughout his five-and-a-

half-month course of care. (Id.)

      185.   While the LaRocca Chiropractors purport to re-evaluate some

patients, their re-examinations do not result in meaningful changes to the patients’

treatment regimen. The LaRocca Chiropractors document their re-examinations

using the handwritten or typewritten narrative forms described above. (See Ex. 35

(representative samples of the re-examinations).) Regardless of which form is

used, the LaRocca Chiropractors continue to document patient complaints to

multiple areas of the body, including the neck and/or back. (Id.) Additionally,

the LaRocca Chiropractors continue to document “objective” findings including

nonspecific “muscle tenderness,” if a handwritten form is used, or joint

subluxations, spasms, and pain, if a typewritten narrative form is used, in multiple

regions of the spine. (Id.)

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      186.   Many re-examinations recommend patients continue with the

predetermined treatment regardless of whether they demonstrated any

improvement. Many other re-examinations do not make any recommendations

regarding patients’ treatment plan because it is understood patients will continue

receiving the same predetermined and fraudulent treatment as before their re-

examinations. At best, the LaRocca Chiropractors’ re-examinations result in only

a decrease in the frequency of treatment.

      187.   Overall, the re-examinations include boilerplate examination

findings, diagnoses, and/or assessments that vary little, if at all, from those

documented in the Handwritten Initial Examinations and Narrative Initial

Examinations. For example, patient T.B. was purportedly injured in an auto

accident on January 9, 2017 and began treating at the LaRocca Clinics on January

16. (Ex. 1, Line 2.) On that day, Hunt prepared a Narrative Initial Examination

reflecting T.B. (1) suffered from (i) “constant” and “severe” pain bilaterally in her

neck, upper back, and lower back, (ii) “constant” and “moderately severe” pain in

both arms, (iii) “frequent” and “moderately severe” pain in both hands, and (iv)

“numb and pins and needle sensations”; and (2) had “objective” findings

including (i) subluxations on the right at C2 and T6, and on the left at C7, L1, L5,

and the sacrum; (ii) severe spasms in the suboccipital, cervical, upper thoracic, mid




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thoracic, lower thoracic, and lumbar muscles bilaterally; and (iii) severe pain in 21

vertebrae at occiput-T6 and T11-L5 bilaterally. (Ex. 36, p. 1.)

      188.   For the next 18 visits spanning across a month and a half, T.B. received

the same treatments at virtually every date of service, including the same passive

modalities of manual therapy, chiropractic manipulations, cold laser, and

mechanical traction. On February 27, a different LaRocca Chiropractor, Major,

purportedly performed a re-examination of T.B. Despite all of the treatment

purportedly provided to T.B., Major prepared a re-examination documenting the

same complaints and “objective” findings as Hunt’s Narrative Initial Examination,

specifically: (1) identical complaints of (i) “constant” and “severe” pain bilaterally

in her neck, upper back, and lower back, (ii) “constant” and “moderately severe”

pain in both arms, (iii) “frequent” and “moderately severe” pain in both hands,

and (iv) “numb and pins and needle sensations”; and (2) identical “objective”

findings of (i) subluxations on the right at C2 and T6, and on the left at C7, L1, L5,

and the sacrum; (ii) severe spasms in the suboccipital, cervical, upper thoracic, mid

thoracic, lower thoracic, and lumbar muscles bilaterally; and (iii) severe pain in the

same 21 vertebrae at occiput-T6 and T11-L5 bilaterally. (Id. at p. 3.) Although

T.B.’s condition had not demonstrated any improvement in her first month and a

half of treatment, Major failed to modify her treatment plan. (Id. at p. 3-4.)




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      189.   T.B. continued treating at the LaRocca Clinics for another four visits,

receiving the same passive modalities of manual therapy, chiropractic

manipulations, cold laser, and mechanical traction on every visit. On March 8,

Major purportedly performed a second re-examination, which continued to

document the same complaints and “objective” findings as Hunt’s Narrative

Initial Examination, including (1) continued identical complaints of (i) “constant”

and “severe” pain bilaterally in her neck, upper back, and lower back, (ii)

“constant” and “moderately severe” pain in both arms, (iii) “frequent” and

“moderately severe” pain in both hands, and (iv) “numb and pins and needle

sensations”; and (2) continued identical “objective” findings of (i) subluxations on

the right at C2 and T6, and on the left at C7, L1, L5, and the sacrum; (ii) severe

spasms in the suboccipital, cervical, upper thoracic, mid thoracic, lower thoracic,

and lumbar muscles bilaterally; and (iii) severe pain in the same 21 vertebrae at

occiput-T6 and T11-L5 bilaterally. (Id. at p. 5.) Major again failed to modify T.B.’s

treatment plan in any way despite her lack of improvement. (Id. at p. 5-6.)

      190.   T.B. continued treating at the LaRocca Clinics for another eight visits

across about a month, receiving the same passive modalities of manual therapy,

chiropractic manipulations, cold laser, and mechanical traction on every visit.

After two and a half months of total treatment, on her last daily visit to the LaRocca

Clinics on March 29, Major prepared a Narrative Daily Note reflecting none of

                                         76
T.B.’s conditions had meaningfully improved. Major purported to find the same

“objective” findings documented during her initial visit two and a half months,

specifically: (i) subluxations on the right at C2 and T6, and on the left at C7, L1, L5,

and the sacrum; (ii) severe spasms across her entire back in the suboccipital,

cervical, upper thoracic, mid thoracic, lower thoracic, and lumbar muscles

bilaterally; and (iii) severe pain in the same 21 vertebrae at occiput-T6 and T11-L5

bilaterally. (Id. at p. 7.) Despite the fact T.B. failed to demonstrate meaningful

improvement, the LaRocca Chiropractors never meaningfully modified her

treatment plan, and instead relentlessly applied the Predetermined Protocol.

      191.   Taken together, the patterns of documenting continued complaints of

pain and positive examination findings and recommending the same

predetermined course of treatment (if any recommendation is made at all) in re-

examinations performed at the LaRocca Clinics demonstrate the LaRocca

Chiropractors do not re-examine patients to legitimately evaluate their conditions

and progress, or to make medical decisions that are necessary to address their

unique needs.      Instead, the patterns of patient complaints and positive

examination findings, and absence of meaningful modifications to patients’

treatment plans, demonstrate the LaRocca Chiropractors perform re-examinations

as a pretext to support predetermined recommendations for continued treatment

and to facilitate separate office visit charges.         As a result, the LaRocca

                                          77
Chiropractors’ re-examinations are fraudulent. (See Fla. Stat. §§ 627.732(11) and

627.736(5)(b)(1)(c).)

      F.     The LaRocca Chiropractors’ Fraudulent Diagnostic Imaging

      192.   In addition to fraudulent chiropractic treatments, the LaRocca

Providers also purport to perform diagnostic imaging on the overwhelming

majority of patients. During their initial visit at the LaRocca Clinics, many patients

receive multiple x-rays to their cervical and/or lumbar spinal regions, which is

highly unusual among patients purportedly suffering from the types of soft tissue

injuries documented by the LaRocca Providers. (Ex. 1, cols. S-T.) The LaRocca

Chiropractors rarely, if ever, document any rationale for performing these x-rays.

Furthermore, the LaRocca Chiropractors rarely, if ever, document how treatment

should be modified based upon the results of x-rays, which demonstrates such

diagnostic imaging is not medically necessary.

      193.   The LaRocca Chiropractors also perform DXD Cervical Radiographic

Spinal Analyses (“DXD Studies”) for many patients. (Ex. 7.) These DXD Studies

are fraudulent because they always reflect patients suffer from “ligamentous

instability” in their cervical spinal region. (Ex. 7, col. F; Ex. 37, p. 1 (representative

sample of the DXD Studies).) The LaRocca Chiropractors do not integrate this

finding into patients’ treatment plans, even though true ligamentous instability is

a contraindication for performing chiropractic manipulations and traction to the


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cervical spinal region.   Many patients for whom the LaRocca Chiropractors

document “ligamentous instability” in their DXD Studies purportedly receive

these potentially contraindicated therapies throughout their treatment at the

LaRocca Clinics. For example, on August 2, 2018, Michael LaRocca performed a

DXD Study for patient P.F. and reported “[l]igamentous instability is present in

the Cervical spine.” (Ex. 25, p. 4.) Despite this potentially serious finding which—

if true—would require chiropractic therapies such as manipulations and traction

to be altered or completely stopped to avoid potentially causing further harm to

the patient, the LaRocca Chiropractors prepared a Handwritten Daily Note on the

same day reflecting P.F. received chiropractic manipulations and traction to her

cervical spine. (Id. at p. 3.) The LaRocca Chiropractors continued to perform

chiropractic manipulations and traction to P.F.’s cervical spine on nearly all of her

remaining visits over the span of two months at the LaRocca Clinics.

      194.   On April 11, 2019, Michael LaRocca performed DXD Studies for two

patients involved in the same accident, D.H. and G.T., and reported identical

findings of “[l]igamentous instability is present in the Cervical spine.” (Ex. 28, p.

2; Ex. 29, p. 2.) On the same day, the LaRocca Chiropractors prepared Handwritten

Daily Notes for both patients reflecting they received chiropractic manipulations

to their C5 vertebral segment and cervical traction. (Ex. 28, p. 1; Ex. 29, p.1.) The

LaRocca Chiropractors never meaningfully modified D.H.’s and G.T.’s treatment

                                         79
plans and instead continued performing chiropractic manipulations and traction

to D.H.’s and G.T.’s cervical spine on virtually all of their remaining visits over the

span of almost two and a half months.

      G.     The Fraudulent Final Medical Examinations

      195.   Pursuant to the Predetermined Protocol, Defendants continue to

exploit patients’ No-Fault Benefits until patients unilaterally stop the treatment, or

Bacaner, Torres-Ruiz, and Rebein perform final examinations (“Final Medical

Examinations”) discharging them with permanent and unresolved injuries.

      196.   Like their Initial Medical Examinations, Bacaner, Torres-Ruiz, and

Rebein do not perform their Final Medical Examinations for legitimate medical

reasons. Instead, they perform Final Medical Examinations to confirm virtually

all patients (i) continue to suffer neck and/or back pain, despite purportedly

receiving extensive treatments at the LaRocca Clinics, (ii) are permanently injured,

and (iii) continue to need further treatment. These findings and conclusions are

not legitimate and instead serve to further the Predetermined Protocol and meet

the statutory threshold for, and inflate the value of, BI and UM Claims.

      197.   Representative samples of the Final Medical Examinations performed

by Bacaner, Torres-Ruiz, and Rebein are attached hereto as Exhibits 38, 39, and 40,

respectively.




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              1.     Bacaner’s Fraudulent Final Medical Examinations

       198.   Bacaner’s Final Medical Examinations contain boilerplate physical

examination findings, diagnoses, and conclusions that are not credible. As an

initial matter, despite patients purportedly receiving extensive treatments at the

LaRocca Clinics, Bacaner documents the overwhelming majority of patients end

treatment with continued complaints of pain, often in their cervical or lumbar

spinal regions, or both. (Ex. 8, col. F; Ex. 38, p. 1, 3, 5, 7.)

       199.   Moreover, Bacaner documents patients continue to have diminished

or limited range of motion in their cervical and/or lumbar spinal regions, as well

as tightness or tenderness in their spine. (Ex. 8, cols. G-H; Ex. 38, p. 2, 6.) Bacaner

fails to indicate the degree limitation for range of motion. (Ex. 38, p. 2, 6.)

       200.   Regardless of the patient’s unique circumstances or purported

examination results, Bacaner purports to document nearly identical treatment

conclusions for every patient.           Despite the extensive treatments patients

purportedly received during their treatment at the LaRocca Clinics, Bacaner

virtually always concludes patients continue to suffer “post-traumatic” conditions

and have “sustained permanent injuries” as a result of their auto accident. (Ex. 8,

col. I; Ex. 38, p. 3, 7.) The uniformity of such a serious finding across patients is

not legitimate given many of the soft tissue injuries purportedly experienced by

patients at the LaRocca Clinics heal without any intervention. Moreover, the


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uniformity of this finding is not credible across a wide and diverse patient

population of varying conditions, limitations, and abilities.

       201.   Additionally, Bacaner virtually always recommends patients

continue treatment despite the litany of treatment already received at the LaRocca

Clinics. (Ex. 8, col. J; Ex. 38, p. 3-4, 7-8.)

       202.   When viewed collectively, these patterns in purported findings,

diagnoses, and treatment conclusions are not credible given the broad spectrum

of patients’ preexisting conditions, medical histories, and symptoms. Instead,

these uniform patterns show Bacaner is not performing legitimate physical

examinations, making legitimate diagnoses, and reaching legitimate conclusions

or treatment recommendations tailored to each patient’s unique needs, but rather

is using predetermined findings and conclusions to give the illusion of severe

conditions, diagnoses, and future medical needs of patients that further the

Predetermined Protocol and support the statutory threshold for, and inflate the

value of, the patients’ BI and UM Claims.




                                                 82
             2.     Torres-Ruiz’s Fraudulent Final Medical Examinations

      203.   Like Bacaner’s Final Medical Examinations, Torres-Ruiz’s Final

Medical Examinations contain boilerplate physical examination findings,

diagnoses, and conclusions that are not credible.

      204.   In his Final Medical Examinations, Torres-Ruiz documents the

overwhelming majority of patients end treatment with continued complaints of

pain, often in their neck or back, or both, even though many of the patients he

examined purportedly received extensive treatments often lasting months at the

LaRocca Clinics. (Ex. 9, cols. F-G; Ex. 39, p. 1, 7.) Additionally, Torres-Ruiz

purports to find the overwhelming majority of patients continue to suffer from a

combination of “tenderness, spasm, and guarding” in the cervical and/or lumbar

spinal regions. (Ex. 9, cols. H-J, L, M-O; Ex. 39, p. 3, 9.) Like in his Initial Medical

Examinations, in his Final Medical Examinations, Torres-Ruiz does not indicate

the specific area of the cervical or lumbar spinal regions, such as a particular

vertebra or area of paraspinal muscles, purportedly exhibiting tenderness, spasm,

and/or guarding. (Ex. 39, p. 3, 9.) Torres-Ruiz’s Final Medical Examinations also

document the overwhelming majority of patients continue to have painful range

of motion in the cervical and lumbar spinal regions. (Ex. 9, cols. K, P; Ex. 39, p. 3,

9.) However, Torres-Ruiz’s final reports rarely describe the nature and degree of

pain experienced during range of motion testing. (Ex. 39, p. 3, 9.)


                                          83
       205.   Regardless of the patient’s unique circumstances or purported

examination results, Torres-Ruiz, like Bacaner, purports to document nearly

identical treatment conclusions for every patient. Despite the extensive treatment

patients purportedly received during their course of care at the LaRocca Clinics,

which often lasts months, Torres-Ruiz virtually always concludes patients have

unresolved and permanent injuries as a result of their auto accident. (Ex. 9, col. Q;

Ex. 39, p. 5, 11.) The uniformity of such a serious finding across patients is not

legitimate given many of the soft tissue injuries purportedly experienced by

patients at the LaRocca Clinics heal without any intervention. Moreover, the

uniformity of this finding is not credible across a wide and diverse patient

population of varying conditions, limitations, and abilities. Furthermore, Torres-

Ruiz almost always concludes the patient’s response to treatment has been limited

with “recurring” symptoms, despite the fact the LaRocca Providers do not

meaningfully modify treatments in response to a patient’s lack of progress. (Ex. 9,

col. R; Ex. 39, p. 5, 11.)

       206.   Torres-Ruiz also recommends additional treatment for nearly every

patient despite the litany of therapies already received at the LaRocca Clinics. (Ex.

9, col. S; Ex. 39, p. 5-6, 11-12.)

       207.   These patterns in purported findings and treatment conclusions are

not credible given the wide variety of patients’ preexisting conditions, medical

                                         84
histories, and symptoms. Instead, these uniform patterns show Torres-Ruiz is not

performing legitimate physical examinations, making legitimate diagnoses, and

reaching legitimate conclusions or treatment recommendations tailored to each

patient’s unique needs, but rather is using predetermined findings and

conclusions to give the illusion of severe conditions, diagnoses, and future medical

needs of patients that further the Predetermined Protocol and support the

statutory threshold for, and inflate the value of, the patients’ BI and UM Claims.

             3.    Rebein’s Fraudulent Final Medical Examinations

      208.   Like Bacaner and Torres-Ruiz, Rebein prepares Final Medical

Examinations that contain physical examination findings, diagnoses, and

conclusions that are not credible.

      209.   Specifically, Rebein documents the overwhelming majority of

patients end treatment with continued complaints of pain, often in their neck or

back, or both, and suffer from some combination of non-specific tenderness,

spasm, and/or guarding in the cervical and/or lumbar spinal regions. (Ex. 10,

cols. F-H, J; Ex. 40, p. 1, 3-4, 7, 9-10.) Rebein’s Final Medical Examinations rarely

describe the specific area of the cervical or lumbar spinal regions, such as a

particular vertebrae or area of paraspinal muscles, purportedly exhibiting

tenderness, spasm, and/or guarding. (Ex. 40, p. 1, 3-4, 7, 9-10.) Rebein also

documents the overwhelming majority of patients continue to have diminished


                                         85
and/or painful range of motion in the cervical and lumbar spinal regions. (Ex. 10,

cols. I, K; Ex. 40, p. 4, 10.)

       210.    Regardless of the patient’s unique circumstances or purported

examination results, Rebein, like Bacaner and Torres-Ruiz, purports to document

nearly identical treatment conclusions for every patient. Despite the extensive

treatment patients purportedly received during their course of care at the LaRocca

Clinics, which often lasts months, Rebein concludes—often using the same phrase

as Torres-Ruiz—that patients have sustained unresolved and permanent injuries

as a result of their auto accident. (Ex. 10, col. L; Ex. 40, p. 6, 11.) The uniformity of

such a serious finding across patients is not legitimate given many of the soft tissue

injuries purportedly experienced by patients at the LaRocca Clinics heal without

any intervention. Moreover, the uniformity of this finding is not credible across a

wide and diverse patient population of varying conditions, limitations, and

abilities.    Additionally, like Torres-Ruiz, Rebein also concludes the patient’s

response to treatment has been limited with “recurring” symptoms, despite the

fact the LaRocca Providers do not meaningfully modify treatments in response to

a patient’s lack of progress. (Ex. 10, col. M; Ex. 40, p. 6, 11.)

       211.    Rebein also recommends additional treatment for nearly every

patient despite the litany of therapies already received at the LaRocca Clinics. (Ex.

10, col. N; Ex. 40, p. 5-6, 11.)

                                           86
      212.   These patterns in purported findings and treatment conclusions are

not credible given the wide variety of patients’ preexisting conditions, medical

histories, and symptoms.      Instead, these uniform patterns show Rebein, like

Bacaner and Torres-Ruiz, is not performing legitimate physical examinations,

making legitimate diagnoses, and reaching legitimate conclusions or treatment

recommendations tailored to each patient’s unique needs, but rather is using

predetermined findings and conclusions to give the illusion of severe conditions,

diagnoses, and future medical needs of patients that further the Predetermined

Protocol and support the statutory threshold for, and inflate the value of, the

patients’ BI and UM Claims.

VI.   BLAKE LAROCCA’S FUNDING COMPANY BENEFITS FROM THE
      PREDETERMINED PROTOCOL

      213.   On May 19, 2014, Blake LaRocca formed BTL Funding. BTL Funding

is an active Florida Limited Liability Company. According to its 2021 Annual

Report filed with the Florida Department of State, Blake LaRocca is the manager

and resident agent of BTL Funding. Blake LaRocca is also the sole owner of BTL

Funding. (Ex. 14, p. 8.)

      214.   Blake LaRocca formed BTL Funding to purchase accounts receivable

from surgery centers. (Id. at p. 13.) In fact, Blake LaRocca uses BTL Funding to

purchase accounts receivable for patients who treat at the LaRocca Clinics and

undergo procedures at surgery centers performed by providers who appear to

                                        87
have a referral relationship with Blake LaRocca. Furthermore, a vice president of

Surgery Partners LLC, a surgical center from which Blake LaRocca has purchased

accounts receivable, testified Blake LaRocca and BTL Funding approached

Surgery Partners and negotiated the price of the accounts receivable directly with

Surgery Partners.    He also testified the majority of accounts receivable BTL

Funding purchased from Surgery Partners were for procedures performed by one

doctor.

      215.   For example, patient L.T. began treating at the LaRocca Clinics on

March 8, 2017. (Ex. 1, Line 31.) During the course of her treatment, L.T. was

referred to a doctor who recommended she undergo a cervical epidural steroid

injection. On June 13, 2017, while L.T. was still receiving treatment at the LaRocca

Clinics, the doctor performed a cervical epidural steroid injection at Dunedin

Surgical Consultants, LLC, which charged $10,000 as its facility fee for the

procedure. According to a letter addressed to L.T.’s attorney and signed by Blake

LaRocca on BTL Funding letterhead, Blake LaRocca, through BTL Funding,

purchased the accounts receivable relating to Dunedin Surgical Consultants,

LLC’s facility fee for L.T.’s procedure. (Ex. 41.) The letter stated payment for

Dunedin Surgical Consultants, LLC’s facility fee “can be mailed to 3022 Oakmont

DR Clearwater, FL 33761,” which was Blake LaRocca’s residence at the time. (Id.)

The letter also identified Blake LaRocca’s phone number and email address in case

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L.T.’s attorney had any questions regarding Dunedin Surgical Consultants, LLC’s

facility fee. (Id.)

       216.   Blake LaRocca, through BTL Funding, also purchased the accounts

receivable relating to patient R.D., who also treated at the LaRocca Clinics, was

referred to the same doctor and another provider, and underwent procedures at

Westchase Surgery Center, Ltd. (“Westchase”), which is a surgery center owned

by Surgery Partners LLC. According to a letter addressed to R.D.’s attorney and

signed by Blake LaRocca on BTL Funding letterhead, Blake LaRocca, through BTL

Funding, purchased the accounts receivable relating to Westchase’s facility fee,

professional fees, and anesthesia fees for patient R.D.’s procedures. (Ex. 42.) Like

the letter for L.T., this letter stated payment could be mailed to Blake LaRocca’s

residence (i.e., 3022 Oakmont Dr., Clearwater, FL 33761). (Id.) The letter also listed

Blake LaRocca’s phone number and email address as contact information

regarding R.D.’s bills. (Id.)

       217.   Blake LaRocca also purchased the accounts receivable relating to

patients A.M. and C.B. who treated at the LaRocca Clinics and underwent

procedures at Westchase.        On March 19, 2019, Blake LaRocca emailed the

administrator of Westchase, asking her to change the description of the billing

codes used for A.M.’s and C.B.’s procedures because “state farm is asking the

attorney to correct way bill is[.]” (Ex. 43.) Blake LaRocca likely contacted the

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administrator to correct the billing codes because he purchased Westchase’s

accounts receivable for A.M. and C.B. and wanted to ensure he could collect on

the bills and make a profit.

      218.   Blake LaRocca has also purchased accounts receivable through

another funding company, Greenway Funding L.L.C. (“Greenway”), for patients

who treat at the LaRocca Clinics and undergo pain management procedures at

surgery centers. In a deposition on January 6, 2020, a corporate representative of

Dunedin Surgical Consultants, LLC, a surgery center, testified Blake LaRocca was

her contact at Greenway and purchased the accounts receivable for a pain

management procedure performed by a doctor for patient J.B., who treated at the

LaRocca Clinics. In a later deposition on January 5, 2021, the same corporate

representative testified Blake LaRocca, through Greenway, purchased the

accounts receivable for a procedure performed by the same doctor for patient K.M.

who treated at the LaRocca Clinics.

      219.   Blake LaRocca profits by purchasing accounts receivable at

discounted rates and collecting on the bills at higher rates. As a result, by

purchasing accounts receivable relating to patients who treat at the LaRocca

Clinics where Blake LaRocca manages the day-to-day operations and is in charge

of the billing, coding, and recordkeeping, Blake LaRocca has an incentive to

implement—and does implement—the Predetermined Protocol to paper patients’

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records at the LaRocca Clinics with continued complaints of pain and unresolved

and permanent injuries that purportedly require additional treatment and

referrals to pain management providers to perform procedures from which Blake

LaRocca can profit.

VII. DEFENDANTS VIOLATED FDUTPA

      220.   FDUTPA prohibits “[u]nfair methods of competition, unconscionable

acts or practices, and unfair or deceptive acts or practices in the conduct of any

trade or commerce.” (Fla. Stat. § 501.204(1).) The provisions of FDUTPA are to be

liberally construed to protect the consuming public and legitimate business

enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts and practices in the conduct of any trade

or commerce. (Fla. Stat. § 501.202(2).)

      221.   Violations of any law, statute, rule, or regulation which proscribes

unfair methods of competition, or unfair, deceptive, or unconscionable acts or

practices constitute violations of FDUTPA.          (Fla. Stat. § 501.203(3)(c).)    “A

deceptive act or practice is ‘one that is likely to mislead consumers and an unfair

practice is one that offends established public policy and one that is immoral,

unethical, oppressive, unscrupulous or substantially injurious to consumers.’”

State Farm Mut. Auto. Ins. Co. v. First Care Sol., Inc., 232 F. Supp. 3d 1257, 1268 (S.D.

Fla. 2017) (citation omitted). “Fraudulent conduct in the context of billing for PIP

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benefits qualifies as a deceptive act for purposes of FDUTPA.” Id. Similarly, “[t]he

Insurance Fraud Statute may serve as a predicate offense under the FDUTPA.”7

State Farm Mut. Auto. Ins. Co. v. Performance Orthopaedics & Neurosurgery, LLC, 315

F. Supp. 3d 1291, 1307 (S.D. Fla. 2018).

       222.    Defendants violated FDUTPA by engaging in the unfair and

deceptive acts and practices described throughout this Complaint, including

intentionally and knowingly making, or causing to be made, false and fraudulent

statements of material fact to State Farm Mutual and State Farm Fire in

submissions for services that were not lawfully rendered and were either not

rendered at all or were not rendered because they were medically unnecessary.

Defendants’ conduct violates the established public policies of the state of Florida

as codified in the PIP Law and Insurance Fraud Statute, and is immoral, unethical,

oppressive, unscrupulous, misleading, and substantially injurious to consumers.

Accordingly, the services purportedly provided by the LaRocca Clinics are not

lawfully rendered and therefore are not compensable under Florida law. (See Fla.

Stat. §§ 627.732(11), 627.736(5)(b)(1)(b)-(c), and 817.234(1)(a)(2).)




7 Pursuant to Fla. Stat. § 817.234(1)(a)(2) (the “Insurance Fraud Statute”), a person commits
insurance fraud if that person, “with the intent to injure, defraud or deceive any insurer prepares
or makes any written statement that is intended to be presented to any insurer in connection with,
or support of, any claim for payment pursuant to an insurance policy, knowing that such
statement contains any false, incomplete, or misleading information concerning the claim.” (Fla.
Stat. § 817.234(1)(a)(2).)

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VIII. STATE FARM MUTUAL AND STATE FARM FIRE’S RELIANCE

      223.   Defendants are obligated legally and ethically to act honestly and

with integrity. Florida medical practice statutes govern the conduct of physicians

and chiropractors who provide services in the state of Florida. (See, e.g., Fla. Stat.

§§ 456.072, 458.331, and 460.413 (collectively, the “Disciplinary Statutes”).)

Pursuant to the Disciplinary Statutes, the following acts can result in disciplinary

action against a physician and chiropractor:

      (a)    Making misleading, deceptive, or fraudulent representations in or

      related to the practice of the licensee’s profession;

      (b)    Making deceptive, untrue, or fraudulent representations in or related

      to the practice of a profession; and

      (c)    Exercising influence on the patient or client for the purpose of

      financial gain of the licensee or a third party.

      (Fla. Stat. §§ 456.072(1)(a), (m), and (n), 458.331(1)(k) and (n), and

      460.413(1)(k) and (n).)

      224.   Moreover, the Insurance Fraud Statute imposes criminal penalties on

individuals who “with the intent to injure, defraud or deceive any insurer prepares

or makes any written statement that is intended to be presented to any insurer in

connection with, or support of, any claim for payment pursuant to an insurance




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policy, knowing that such statement contains any false, incomplete, or misleading

information concerning the claim.” (Fla. Stat. § 817.234(1)(a)(2).)

      225.   Despite their duty to act honestly, with integrity, and in accord with

Florida law, Defendants submitted, or caused to be submitted, to State Farm

Mutual and State Farm Fire bills and supporting documentation that are

fraudulent because they represent patients were legitimately examined, had

sustained EMCs, and received medically necessary and lawfully rendered services

when, in fact, they did not.

      226.   State Farm Mutual and State Farm Fire are under statutory and

contractual duties to pay or deny claims for No-Fault Benefits within 30 days.

Defendants’ fraudulent scheme was successful because of precisely how State

Farm Mutual and State Farm Fire are required to adjust claims for No-Fault

Benefits. State Farm Mutual and State Farm Fire must adjust each claim on its

individual merits and within the 30-day time constraint imposed by Florida law.

      227.   Defendants developed and implemented their fraudulent scheme to

take advantage of State Farm Mutual and State Farm Fire, knowing the efficient

operation of a system of insurance requires prompt processing of individual

claims, and thus, Defendants’ scheme would go undetected unless all of the bills

and supporting documentation across the patients at issue in this Complaint were

viewed together as a whole.

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      228.   The bills and supporting documents Defendants submitted, or caused

to be submitted, to State Farm Mutual and State Farm Fire in support of the

fraudulent and unlawful charges at issue, combined with the material

misrepresentations described above, were designed to and did cause State Farm

Mutual and State Farm Fire to rely on them to their detriment. As a result, State

Farm Mutual and State Farm Fire have incurred damages of at least $2.1 million.

      229.   Defendants made material misrepresentations and have taken other

affirmative acts to conceal their fraud from State Farm Mutual and State Farm Fire.

Each bill and its supporting documentation, when viewed in isolation, does not

reveal its fraudulent and unlawful nature. Only when Defendants’ bills and

supporting documentation across all patients at issue in this Complaint are viewed

together as a whole do the patterns emerge revealing their fraudulent nature.

IX.   CLAIMS FOR RELIEF

                          FIRST CLAIM FOR RELIEF
                           COMMON LAW FRAUD
                           (Against All Defendants)

      230.   State Farm Mutual and State Farm Fire incorporate as though fully set

forth herein the allegations in paragraphs 1 through 229 above.

      231.   In the claims set forth in Exhibit 1, Defendants acted in concert to

intentionally and knowingly make, or cause to be made, false and fraudulent

representations of material fact to State Farm Mutual and State Farm Fire.


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      232.   Defendants’ false and fraudulent representations of material fact

include: (a) the services were performed, medically necessary, and lawful as

required by the PIP Law, when they were not; (b) patients were legitimately

examined to determine the true nature and extent of their injuries, when they were

not; (c) patients were legitimately diagnosed with injuries to their cervical,

thoracic, and/or lumbar regions of the spine, when they were not; (d) patients

were legitimately found to have sustained EMCs as a result of their auto accidents,

when they were not; (e) patients received treatments consisting of the same or

substantially similar combination of at least three passive modalities and vague

therapeutic exercises at nearly every visit because such treatments were medically

necessary, when they were not; (f) patients required medically necessary

diagnostic imaging, including x-rays and DXD Studies at the LaRocca Clinics,

when in fact such diagnostic imaging was not performed because it was medically

necessary; (g) patients were legitimately found to suffer from permanent injuries

at their final examinations, when they were not; and (h) the services performed at

the LaRocca Clinics were lawfully rendered when, in fact, these services were not

lawfully rendered and therefore were not owed pursuant to the PIP Law because

such services were rendered pursuant to intentional violations of the PIP Law and

Insurance Fraud Statute.




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      233.   Defendants knew the above-described misrepresentations made to

State Farm Mutual and State Farm Fire relating to the purported examinations,

treatments, EMC findings, diagnostic imaging, and other services provided to

patients were false and fraudulent when they were made.

      234.   Defendants made the above-described misrepresentations and

engaged in such conduct to induce State Farm Mutual and State Farm Fire into

relying on the misrepresentations.

      235.   Representative examples of Defendants’ fraudulent bills and

supporting documentation can be found in Exhibits 16-40 and 44.

      236.   As a result of their reliance on these misrepresentations, State Farm

Mutual and State Farm Fire have incurred damages of at least $2.1 million.

      WHEREFORE, State Farm Mutual and State Farm Fire demand judgment

      against Defendants for compensatory damages, costs, and other such relief

      as the Court deems equitable, just, and proper.

                         SECOND CLAIM FOR RELIEF
                             CIVIL CONSPIRACY
                           (Against All Defendants)

      237.   State Farm Mutual and State Farm Fire incorporate as though fully set

forth herein the allegations in paragraphs 1 through 229 above.

      238.   Defendants each knowingly agreed and conspired to conduct and

participate, directly or indirectly, in the fraudulent scheme described above in


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paragraphs 1 through 229 when they submitted, or caused to be submitted, to State

Farm Mutual and State Farm Fire bills and supporting documentation that were

fraudulent and unlawful.

      239.   Defendants each agreed to act and did act in furtherance of the

common and overall objective of the conspiracy to fraudulently obtain No-Fault

Benefits by knowingly facilitating the submission of bills and supporting

documentation to State Farm Mutual and State Farm Fire that made intentional

false and fraudulent representations that: (a) the services were performed,

medically necessary, and lawful as required by the PIP Law, when they were not;

(b) patients were legitimately examined to determine the true nature and extent of

their injuries, when they were not; (c) patients were legitimately diagnosed with

injuries to their cervical, thoracic, and/or lumbar regions of the spine, when they

were not; (d) patients were legitimately found to have sustained EMCs as a result

of their auto accidents, when they were not; (e) patients received treatments

consisting of the same or substantially similar combination of at least three passive

modalities and vague therapeutic exercises at nearly every visit because such

treatments were medically necessary, when they were not; (f) patients required

medically necessary diagnostic imaging, including x-rays and DXD Studies at the

LaRocca Clinics, when in fact such diagnostic imaging was not performed because

it was medically necessary; (g) patients were legitimately found to suffer from

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permanent injuries at their final examinations, when they were not; and (h) the

services performed at the LaRocca Clinics were lawfully rendered when, in fact,

these services were not lawfully rendered and therefore were not owed pursuant

to the PIP Law because such services were rendered pursuant to intentional

violations of the PIP Law and Insurance Fraud Statute.

      240.   Defendants are jointly and severally liable to State Farm Mutual and

State Farm Fire for the damages caused by their conspiracy.

      241.   As a direct and proximate result of Defendants’ conspiracy, State

Farm Mutual and State Farm Fire have incurred damages of at least $2.1 million.

      WHEREFORE, State Farm Mutual and State Farm Fire demand judgment

      against Defendants jointly and severally for compensatory damages, costs,

      and other such relief as this Court deems equitable, just, and proper.

                          THIRD CLAIM FOR RELIEF
                           UNJUST ENRICHMENT
                           (Against All Defendants)

      242.   State Farm Mutual and State Farm Fire incorporate as though fully set

forth herein the allegations in paragraphs 1 through 229 above.

      243.   In each claim described in Exhibit 1, State Farm Mutual and State

Farm Fire conferred a benefit upon Defendants by paying their claims and these

Defendants voluntarily accepted and have retained benefits from the payments

conferred by State Farm Mutual and State Farm Fire.


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      244.   Because Defendants knowingly submitted, or caused to be submitted,

charges for examinations, treatments, diagnostic imaging, and other services that

were not medically necessary and lawfully rendered, the circumstances are such

that it would be inequitable to allow them to retain the benefit of the monies paid.

      245.   As a direct and proximate result of the above-described conduct, State

Farm Mutual and State Farm Fire have been damaged and Defendants have been

unjustly enriched by at least $2.1 million.

      WHEREFORE, State Farm Mutual and State Farm Fire demand judgment

      against Defendants jointly and severally for compensatory damages, costs,

      and other such relief as the Court deems equitable, just, and proper.

                         FOURTH CLAIM FOR RELIEF
                          VIOLATIONS OF FDUTPA
                           (Against All Defendants)

      246.   State Farm Mutual and State Farm Fire incorporate as though fully set

forth herein the allegations in paragraphs 1 through 229 above.

      247.   In each claim set forth in Exhibit 1 submitted to State Farm Mutual

and State Farm Fire, Defendants engaged in unfair and deceptive acts and

practices in the conduct of their trade and commerce. Such acts and practices have

offended public policy and were unconscionable, immoral, unethical, oppressive,

and unscrupulous. These acts and practices included intentionally and knowingly

making, or causing to be made, false and fraudulent statements of material fact to


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State Farm Mutual and State Farm Fire in submissions for services that were not

lawfully rendered by the LaRocca Clinics because they were rendered pursuant to

intentional violations of the PIP Law and Insurance Fraud Statute. (See Fla. Stat.

§§ 627.732(11), 627.736(5)(b)(1)(b)-(c), and 817.234(1)(a)(2).) As a result of such acts

and practices, Defendants have committed traditional and per se violations of

FDUTPA.

      248.   Accordingly, by virtue of the foregoing, State Farm Mutual and State

Farm Fire are entitled to compensatory damages of at least $2.1 million, plus their

reasonable attorney’s fees and costs, and any other relief this Court deems

equitable, just, and proper.

      WHEREFORE, State Farm Mutual and State Farm Fire demand judgment

      against Defendants for compensatory damages and reasonable attorney’s

      fees, plus interest and costs, and any other relief this Court deems equitable,

      just, and proper.

                           FIFTH CLAIM FOR RELIEF
                          DECLARATORY JUDGMENT
                          (Against the LaRocca Clinics)

      249.   State Farm Mutual and State Farm Fire incorporate as though fully set

forth herein the allegations in paragraphs 1 through 229 above.

      250.   This is an action for declaratory relief pursuant to 28 U.S.C. § 2201.




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      251.   There is an actual case and controversy between State Farm Mutual

and State Farm Fire, on one hand, and the LaRocca Clinics, on the other hand, as

to all claims and charges for patients who purportedly received services

performed at the LaRocca Clinics that have not been paid. State Farm Mutual and

State Farm Fire contend the LaRocca Clinics are not entitled to be paid for any of

these unpaid claims and charges submitted to State Farm Mutual and State Farm

Fire to date and through the trial of this case.

      252.   Because the LaRocca Clinics knowingly made false and fraudulent

statements relating to a claim and charge and otherwise engaged in the above-

described fraudulent and unlawful conduct with the intent to conceal and

misrepresent material facts and circumstances regarding each claim and charge

the LaRocca Clinics submitted to State Farm Mutual and State Farm Fire, they are

not entitled to any reimbursement for any unpaid claims and charges submitted

to State Farm Mutual and State Farm Fire to date and through the trial of this case.

(See Fla. Stat. §§ 627.732(11), 627.736(5)(b)(1)(b)-(c), and 817.234(1)(a)(2).)

      WHEREFORE, State Farm Mutual and State Farm Fire respectfully request

      a judgment declaring the LaRocca Clinics are not entitled to reimbursement

      for any of the unpaid charges for services purportedly performed at the

      LaRocca Clinics submitted to State Farm Mutual and State Farm Fire to date




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      and through the trial of this case, and for supplementary relief, attorneys’

      fees, interest, and costs as this Court deems equitable, just, and proper.

                        DEMAND FOR A JURY TRIAL

      Pursuant to Federal Rule of Civil Procedure 38(b), State Farm Mutual and

State Farm Fire demand a trial by jury.

DATED October 29, 2021.             By:

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